       Case 3:15-cv-07658-MAS-LHG Document 510 Filed 01/27/20 Page 1 of 93 PageID: 14302

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                                                                                                             JAN 27 2020
                                                                                                         ATB:3Q
                                                                 January 24, 2020                              T. WALSH M
                                                                                                           WtL~CAM
                                                                                                             L£RK
          Via Federal Express
          Clerk's Office
          Clarkson S. Fisher Building
          & U.S. Courthouse
          402 East State Street
          Trenton, NJ 08608
          609-989-2065

                              RE:           In re Valeant Pharmaceuticals International, Inc. Securities
                                            Litigation, Master File No. 15-cv-07658 (MAS)(LHG); In re Valeant
                                            Pharmaceuticals International, Inc. Third-Party Payor Litigation, No.
                                            16-cv-03087

          Dear Sir/Madam:

                   I have been appointed Special Master in the above referenced matters. Pursuant to
          Magistrate Judge Goodman's instructions, enclosed please find an Order Granting Preliminary
          Approval of Settlement to be uploaded to ECF. Should you have any questions, please do not
          hesitate to contact the undersigned.



                                                                  Very truly yours,

                                              MCELROY, DEUTSCH, MULVANEY              & CARPENTER, LLP

                                                              Isl Dennis M. Cavanaugh

                                                              Dennis M. Cavanaugh, U.S.D.J. (Ret.)




NEW JERS EY          NEW YORK                 PENN SYLVANIA         CONNECTICUT        MASSACHUSETTS      COLORADO    DELAWARE
Case 3:15-cv-07658-MAS-LHG Document 510 Filed 01/27/20 Page 2 of 93 PageID: 14303




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      CHRISTOPHER A. SEEGER
      DAVID R. BUCHANAN
      55 Challenger Road, 6th Floor                         RECEIVED
      Ridgefield Park, NJ 07660
      Telephone: 212/584-0700                                    JAN 2 7 2020
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                                                                WIL-;-;LIA-:-:M-:-::T:-:-
      Local Counsel                                                       CLERK

      ROBBINS GELLER RUDMAN
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      FRANK A. RICIIT'ER
      200 South Wacker Drive, 31 st Floor
      Chicago, IL 60606
      Telephone: 312/674-4674
      312/674-4676 (fax)

      Lead Counsel for Plaintiffs

                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

      In re V ALEANT                        ) Master No. 3:15-cv-07658-MAS-LHG
      PHARMACEUTICALS                       )
      INTERNATIONAL, INC.                   ) CLASS ACTION

                                            ~
      SECURITIES LITIGATION
                              Judge Michael A . Shipp
      - - - - - - - - - - - ) Magistrate Judge Lois H. Goodman
                                            ) Special Master Hon. Dennis M. Cavanaugh,
      This Document Relates To:
                                            ) U.S.D.J. (Ret.)
                                      )         ORDER GRANTING PRELIMINARY
      Case No. 3:15-cv-07658-MAS-LHG. )         APPROVAL PURSUANT TO FED. R.
                                      )         CIV. P. 23(e)(l) AND PERMITTING
      __________ )                              NOTICE TO TIIE CLASS




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              WHEREAS, an action pending before this Court is styled In re Valeant

      Pharmaceuticals International, Inc. Securities Litigation, No. 3:15-cv-07658-MAS-

      LHG (D.N.J.) (the "Litigation");

              WHEREAS, Lead Plaintiff having made a motion, pursuant to Federal Rule of

      Civil Procedure 23(e), for an order preliminarily approving the Settlement of this

      Litigation, in accordance with a Stipulation of Settlement, dated December 15, 2019

      (the "Stipulation"), which, together with the Exhibits annexed thereto, sets forth the

      terms and conditions for a proposed Settlement of the Litigation between the Settling

      Parties and for dismissal of the Litigation with prejudice as to all Defendants except

      PriceWaterhouseCoopers LLP ("PwC") 1 upon, and subject to, the terms and

      conditions set forth therein; and the Court having read and considered: ( 1) the motion

      for preliminary approval of the Settlement, and the papers filed and arguments made

      in connection therewith, and (2) the Stipulation and the exhibits annexed thereto;



      1
         "Defendants" refers to Valeant Pharmaceuticals International, Inc. ("Valeant")
      (n/k/a Bausch Health Companies Inc.); J. Michael Pearson; Howard B. Schiller;
      Robert L. Rosiello; Deborah Jorn; Ari S. Kellen; Tanya Carro; Jeffrey W. Ubben;
      Robert A. Ingram; Ronald H. Farmer; Colleen Goggins; Anders Lonner; Theo Melas-
      Kyriazi; Robert N . Power; Norma Provencio; Katharine B. Stevenson; Deutsche Bank
      Securities Inc.; HSBC Securities (USA) Inc.; MUFG Securities Americas Inc. f/k/a
      Mitsubishi UFJ Securities (USA) Inc.; DNB Markets, Inc.; Barclays Capital Inc. ;
      Morgan Stanley & Co. LLC; RBC Capital Markets, LLC; Suntrust Robinson
      Humphrey, Inc.; V alueAct Capital Management, L.P .; VA Partners I, LLC; ValueAct
      Holdings, L.P ; V alueAct Capital Master Fund, L.P. ; ValueAct Co-Invest Master Fund,
      L.P.


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              WHEREAS, the Settling Parties having consented to the entry of this Order;

      and

              WHEREAS, unless otherwise defined, all terms used herein have the same

      meanings as set forth in the Stipulation.

              NOW, TIIEREFORE, IT IS HEREBY ORDERED:

               1.          The Court has reviewed the Stipulation and does hereby preliminarily

      approve the Stipulation and the Settlement set forth therein as fair, reasonable and

      adequate, subject to further consideration at the Final Approval Hearing (as defined in

      ,r6 below).

               2.          Pursuant to Rules 23(a) and (b)(3) of the Federal Rules of Civil

      Procedure, and for purposes of this Settlement only, the Litigation is hereby

      preliminarily certified as a class action on behalf of all Persons who purchased or

      otherwise acquired Valeant Securities 2 between January 4, 2013 and March 15, 2016,




      2   "Valeant Securities" means Valeant equity securities as defined in 15 U.S.C.
      §78c(l I) and 17 C.F.R. §240.3al l-l , and Valeant debt securities, including Valeant
      common stock; options on Valeant common stock, defined to be the purchase or
      acquisition of call options and the sale of put options; and the following Valeant
      senior notes: (1) 5.375% senior notes due 2020; (2) 5.875% senior notes due 2023;
      (3) 6.125% senior notes due 2025; (4) 5.5% senior notes due 2023; (5) 5.625% senior
      notes due 2021; (6) 6.75% senior notes due 2018; (7) 7.5% senior notes due 2021;
      (8) 6.375% senior notes due 2020; (9) 7.25% senior notes due 2022; (10) 6.75%
      senior notes due 2021; or (11) 7.0% senior notes due 2020. This definition does not
      include securities at issue in the Canadian Actions.

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      inclusive. Excluded from the Class are Defendants and Former Defendants 3, present

      and former executive officers of Defendants and Former Defendants, and members of

      their immediate families, present and former directors of Defendants and Former

      Defendants, and members of their immediate families, any entity in which a

      Defendant or current or former director of a Defendant has control and/or a majority

      ownership interest, and the legal representatives, heirs, successors or assigns of any

      such excluded party. For the avoidance of doubt, this exclusion does not extend to:

      (1) any investment company or pooled investment fund in which a Defendant or

      Former Defendant may have a direct or indirect interest, or as to which its affiliates

      may act as an advisor, but of which a Defendant or Former Defendant or its respective

      affiliates is not a majority owner or does not hold a majority beneficial interest; or

      (2) any employee benefit plan as to which a Defendant or Former Defendant or its

      affiliates acts as an investment advisor or otherwise may be a fiduciary; provided,

      however, that membership in the Class by such investment company, pooled

      investment fund or employee benefit plan is limited to transactions in Valeant

      Securities made on behalf of, or for the benefit of, persons other than persons that are

      excluded from the Class by definition. In other words, Defendants and Former


      3
         "Former Defendants" refers to Goldman Sachs & Co. LLC f/k/a Goldman Sachs &
      Co.; J.P. Morgan Securities LLC; Merrill Lynch, Pierce, Fenner & Smith Inc.; CIBC
      World Markets Inc.; Citigroup Global Markets Inc.; DBS Bank Ltd.; TD Securities
      (USA) LLC; BMO Capital Markets Corp.; and Sl\IBC Nikko Securities America, Inc.


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      Defendants cannot make a claim on their own behalf for their ownership share in any

      of the above entities.

               3.       The Class also excludes: (1) any person or entity which during the Class

      Period purchased or otherwise acquired Valeant Securities and has been promised or

      received a payment from or on behalf of the Valeant Defendants related to or arising

      from litigation related to its Class Period transactions in Valeant Securities other than

      a payment of attorneys fees or costs to counsel for such person or entity; (2) any Class

      Member on Exhibit A to the Final Judgment that validly and timely requested

      exclusion in accordance with the requirements set by the Court in the Notice of

      Pendency and Proposed Settlement of Class Action; and (3) anyone on Exhibit B to

      the Final Judgment who has filed an individual action and not dismissed their claim

      and sought to be included in the Class.

               4.           Pursuant to Rule 23 of the Federal Rules of Civil Procedure, and for

      purposes of settlement only, Lead Plaintiff together with named plaintiffs City of

      Tucson together with and on behalf of Tucson Supplemental Retirement System

      ("Tucson") and IBEW Local Union 481 Defined Contribution Plan and Trust

      ("IBEW") are preliminarily certified as Class Representatives for the Class and

      Robbins Geller Rudman & Dowd LLP is preliminarily appointed as Class Counsel for

      the Class.




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               5.      The Court preliminarily finds that the proposed Settlement should be

       approved as: (i) it is the result of extensive arm's-length and non-collusive

       negotiations; (ii) falling within a range of reasonableness warranting final approval;

       (iii) having no obvious deficiencies; and (iv) warranting notice of the proposed

       Settlement to Class Members and further consideration of the Settlement at the Final

       Approval Hearing described below.

               6.          A hearing shall be held before this Court on May 27, 2020, at I 0:00 a.m.

       (the "Final Approval Hearing"), at the Clarkson S. Fisher Building & U.S.

       Courthouse, 402 East State Street, Courtroom 1, Trenton, New Jersey 08608, to

       determine whether the proposed Settlement of the Litigation on the terms and

       conditions provided for in the Stipulation is fair, reasonable and adequate to the Class

       and should be approved by the Court; to determine whether a Judgment as provided in

       ,it .13 of the Stipulation should be entered; to determine whether the proposed Plan of

       Allocation should be approved; to determine whether the Class should be finally

       certified for purposes of the Settlement only; to determine the amount of attorneys '

       fees, charges and expenses that should be awarded to Lead Counsel; to determine any

       award to Plaintiffs pursuant to 15 U .S.C. §78u-4(a)(4 ); to hear any objections by Class

       Members to: (i) the Settlement or Plan of Allocation; (ii) the award of attorneys' fees

       and expenses to Lead Counsel; and (iii) awards to Plaintiffs pursuant to 15 U.S.C.




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      §78u-4(a)(4); and to consider such other matters the Court deems appropriate. The

      Court may adjourn the Final Approval Hearing without further notice to the Class.

               7.      The Court approves the form, substance, and requirements of the Notice

      of Pendency and Proposed Settlement of Class Action (''Notice") and Proof of Claim

      and Release, substantially in the forms annexed hereto as Exhibits A-1 4 and A-2,

      respectively.

               8.      The Court approves the form of the Summary Notice of Pendency and

      Proposed Settlement of Class Action ("Summary Notice"), substantially in the form

      annexed hereto as Exhibit A-3.

               9.          The firm of Gilardi & Co. LLC ("Claims Administrator") is hereby

      appointed to supervise and administer the notice procedure as well as the processing

      of claims as more fully set forth below.

               l O.        To the extent they have not already done so, Valeant and its counsel shall

      provide or cause Valeant's transfer agent to provide Lead Counsel and the Claims

      Administrator, without any charge to Plaintiffs or the Class, the last known names and

      addresses of all holders of record of V aleant common stock during the Class Period.

               11.         Not later than February 6, 2020 (the ''Notice Date"), the Claims

      Administrator shall commence mailing the Notice and Proof of Claim and Release,


       4 The Tables set forth in the Notice (Exhibit A-1) may be posted on the settlement
       website for potential Class Members' reference, rather than within the Notice.


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      substantially in the forms annexed hereto, to be mailed by First-Class Mail to all Class

      Members who can be identified with reasonable effort and to be posted on the case-

      designated website, www.ValeantSecuritiesSettlement.com.

               12.         Not later than February 13, 2020, the Claims Administrator shall cause

      the Summary Notice to be published once in The Wall Street Journal, and once over a

      national newswire service.

               13.         At least seven (7) calendar days prior to the Final Approval Hearing,

      Lead Counsel shall serve on Defendants' Counsel and file with the Court proof, by

      affidavit or declaration, of such mailing and publishing.

               14.         The Claims Administrator shall use reasonable efforts to give notice to

      nominee purchasers such as brokerage firms and other persons or entities who

      purchased or otherwise acquired Valeant Securities between January 4, 2013 and

      March 15, 2016, inclusive, as record owners but not as beneficial owners. Such

      nominee purchasers are directed, within fourteen ( 14) calendar days oftheir receipt of

      the Notice, to either forward copies of the Notice and Proof of Claim and Release to

      their beneficial owners or to provide the Claims Administrator with lists of the names

      and addresses of the beneficial owners, and the Claims Administrator is ordered to

      send the Notice and Proof of Claim and Release promptly to such identified beneficial

      owners. Nominee purchasers who elect to send the Notice and Proof of Claim and

      Release to their beneficial owners shall send a statement to the Claims Administrator


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       confirming that the mailing was made as directed. Additional copies of the Notice

       shall be made available to any record holder requesting such for the purpose of

       distribution to beneficial owners, and such record holders shall be reimbursed from

       the Settlement Fund, upon receipt by the Claims Administrator of proper

       documentation, for the reasonable expense of sending the Notice and Proof of Claim

       and Release to beneficial owners.

               15.     The form and content of the notice program described herein and the

       methods set forth herein for notifying the Class of the Settlement and its terms and

       conditions, the Fee and Expense Application, and the Plan of Allocation meet the

       requirements of Rule 23 of the Federal Rules of Civil Procedure, the Private Securities

       Litigation Reform Act of 1995 and due process, constitute the best notice practicable

       under the circumstances, and shall constitute due and sufficient notice to all Persons

       entitled thereto.

               16.         All fees and expenses incurred in identifying and notifying Members of

       the Class shall be paid from the Settlement Fund and in no event shall any of the

       Released Persons bear any responsibility or liability for such fees or expenses.

               17.         All Class Members shall be bound by all determinations and judgments

       in the Litigation concerning the Settlement, including, but not limited to, the releases

       provided for therein, whether favorable or unfavorable to the Class, regardless of

       whether such Persons seek or obtain by any means, including, without limitation, by


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      submitting a Proof of Claim and Release or any similar document, any distribution

      from the Settlement Fund or the Net Settlement Fund.

              18.         Valeant shall provide within 10 days of the entry of this Order: (a) to

      Lead Counsel the identity of any person or entity that is excluded pursuant to ,r3(1)

      above; (b) to Lead Counsel the scope of any release(s) provided by such excluded

      parties; and (c) to the Claims Administrator, to the extent that it is in Valeant's

      possession, the anonymized underlying trading data of such excluded parties. V aleant

      shall supplement this information within 5 business days of any person or entity being

      excluded pursuant to ~3(1) above to the extent such exclusion occurs prior to the Final

      Approval Hearing.

              19.         Class Members who wish to participate in the Settlement shall complete

      and submit a Proof of Claim and Release in accordance with the instructions

      contained therein. Unless the Court orders otherwise, all Proofs of Claim and Release

      must be postmarked or submitted electronically no later than May 6, 2020. Any Class

      Member who does not submit a Proof of Claim and Release within the time provided

      shall be barred from sharing in the distribution of the proceeds of the Net Settlement

      Fund, unless otherwise ordered by the Court, but shall nevertheless be bound by any

      final judgment entered by the Court. Notwithstanding the foregoing, Lead Counsel

      shall have the discretion (but not the obligation) to accept late-submitted claims for

      processing by the Claims Administrator so long as distribution of the Net Settlement


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      Fund is not materially delayed thereby. No person shall have any claim against any

      Plaintiff, Plaintiffs' Counsel or the Claims Administrator by reason of the decision to

      exercise such discretion whether to accept late-submitted claims.

               20.     Any Member of the Class may enter an appearance in the Litigation, at

      his, her, or its own expense, individually or through counsel of his, her, or its own

      choice. If they do not enter an appearance, they will be represented by Lead Counsel.

               21.         Any Person falling within the definition of the Class may, upon request,

      be excluded or "opt out" from the Class. Any such Person must submit to the Claims

      Administrator a request for exclusion ("Request for Exclusion"), by First-Class Mail

      such that it is postmarked no later than May 6, 2020. A Request for Exclusion must

      be signed and state: ( a) the name, address, and telephone number of the Person

      requesting exclusion; (b) the Person's purchases, acquisitions and sales of Valeant

       Securities between January 4, 2013 and March 15, 2016, inclusive (including the

       dates, the number ofValeant Securities purchased, acquired or sold, and price paid or

      received for each such purchase, acquisition or sale); and ( c) that the Person wishes to

       be excluded from the Class. The Request for Exclusion shall not be effective unless it

      provides the required information and is made within the time stated above, or the

       exclusion is otherwise accepted by the Court. All Persons who submit valid and

      timely Requests for Exclusion in the manner set forth in this paragraph shall have no

       rights under the Stipulation, shall not share in the distribution of the Net Settlement

       Fund, and shall not be bound by the Stipulation or any final judgment.




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              22.      Any Person who is excluded from the Class by virtue of having

      submitted a valid and timely Request for Exclusion may, at any point up to seven (7)

      calendar days before the Final Approval Hearing, submit a written revocation of

      Request for Exclusion following the same instructions in 121 above.

              23.      Lead Counsel shall cause to be provided to Defendants' Counsel copies

      of all Requests for Exclusion and a list of all Class Members who have requested

      exclusion, and any written revocation of Requests for Exclusion, within five (S)

      business days of receipt thereof and in any event at least fifteen ( 15) calendar days

      prior to the Final Approval Hearing.

              24.      Any Member of the Class may appear at the Final Approval Hearing and

      object if he, she, or it has any reason why the proposed Settlement of the Litigation

      should not be approved as fair, reasonable and adequate, or why a judgment should

      not be entered thereon, why the Plan of Allocation should not be approved, or why

      attorneys' fees, together with charges and expenses, should not be awarded or

      amounts to Plaintiffs pursuant to 15 U.S.C. §78u-4(a)(4) should not be awarded;

      provided, however, that no Class Member or any other Person shall be heard at the

      Final Approval Hearing or entitled to contest the approval of the terms and conditions

      of the proposed Settlement, or, if approved, the Judgment to be entered thereon

      approving the same, or the order approving the Plan of Allocation, or any attorneys'

      fees, together with charges and expenses, to be awarded to Lead Counsel or any award

      to Plaintiffs, unless the Person objecting has filed said written objections and copies of

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      any papers and briefs with the Clerk ofthe United States District Court for the District

      of New Jersey and mailed copies thereof by First-Class Mail to Robbins Geller

      Rudman & Dowd LLP, Theodore J. Pintar, 655 West Broadway, Suite 1900, San

      Diego, CA 92101, and Simpson Thacher & Bartlett LLP, Craig S. Waldman, 425

      Lexington Avenue, New York, NY 10017, no later than May 6, 2020. Any Member

      of the Class who does not make his, her, or its objection in the manner provided shall

      be deemed to have waived such objection and shall forever be foreclosed from making

      any objection to the fairness, reasonableness or adequacy of the proposed Settlement

      as incorporated in the Stipulation, to the Plan of Allocation, or to the award of fees,

      charges and expenses to Lead Counsel or any award to Plaintiffs, unless otherwise

      ordered by the Court. Attendance at the Final Approval Hearing is not necessary.

      However, Persons wishing to be heard orally in opposition to the approval of the

      Settlement, the Plan of Allocation, and/or the application for an award of fees, charges

      and expenses are required to indicate in their written objection their intention to

      appear at the hearing and to include in their written objections the identity of any

      witnesses they may call to testify and copies of any exhibits they intend to introduce

       into evidence at the Final Approval Hearing. Class Members do not need to appear at

      the Final Approval Hearing or take any other action to indicate their approval.

               25.         Any Class Member who does not object to the Settlement, the Plan of

       Allocation, or Lead Counsel's application for an award of attorneys' fees, charges and


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      expenses in the manner prescribed herein and in the Notice shall be deemed to have

      waived such objection, and shall forever be foreclosed from making any objection to

      the fairness, adequacy or reasonableness of the proposed Settlement, this Order and

      the Judgment to be entered approving the Settlement, the Plan of Allocation and/or the

      application by Lead Counsel for an award of attorneys' fees together with charges and

      expenses or any award to Plaintiffs.

              26.     All funds held by the Escrow Agent shall be deemed and considered to be

      in custodia legis, and shall remain subject to the jurisdiction of the Court, until such

      time as such funds shall be distributed pursuant to the Stipulation and/or further

      order( s) of the Court.

              27.         All papers in support of the Settlement, Plan of Allocation, and any

      application by Lead Counsel for attorneys' fees, charges and expenses and awards to

      Plaintiffs shall be filed and served no later than April 22, 2020, and any reply papers

      shall be filed and served no later than May 20, 2020.

              28.         The Released Persons shall have no responsibility for the Plan of

      Allocation or any application for attorneys' fees, charges or expenses submitted by

      Lead Counsel, and such matters will be considered by the Court separately from the

      fairness, reasonableness, and adequacy of the Settlement.

              29.         At or after the Final Approval Hearing, the Court shall determine whether

      the Plan of Allocation proposed by Lead Counsel, and any application for attorneys'


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      fees, charges and expenses, should be approved. The Court reserves the right to enter

      the Order and Final Judgment approving the Settlement regardless of whether it has

      approved the Plan of Allocation or awarded attorneys' fees and/or charges and

      expenses.

               30.     All reasonable expenses incurred in identifying and notifying Class

      Members as well as administering the Settlement Fund shall be paid as set forth in the

       Stipulation. In the event the Court does not approve the Settlement, or it otherwise

      fails to become effective, neither Lead Plaintiff nor Lead Counsel nor the Claims

      Administrator shall have any obligation to repay any amounts actually and properly

       incurred or disbursed pursuant to ~2.12 or 2.14 of the Stipulation.

               31.         Neither this Order nor the Stipulation, nor any of their respective terms or

       provisions, nor any ofthe negotiations, discussions, proceedings connected with them,

       nor any act performed or document executed pursuant to or in furtherance of the

       Stipulation or the Settlement or this Order may be construed as an admission or

       concession by the Defendants or any other Released Persons of the truth of any of the

       allegations in the Litigation, or of any liability, fault, or wrongdoing of any kind, or

       offered or received in evidence, or otherwise used by any person in the Litigation, or

       in any other action or proceeding, whether civil, criminal, or administrative, in any

       court, administrative agency, or other tribunal, except in connection with any

       proceeding to enforce the terms of the Stipulation or this Order. The Released


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      Persons, Lead Plaintiff, Class Members, and each of their counsel may file the

       Stipulation, and/or this Order and/or the Judgment in any action that may be brought

       against them in order to support a defense or counterclaim based on principles of res

      judicata, collateral estoppel, release, good faith settlement,judgment bar or reduction

       or any other theory of claim preclusion or issue preclusion or similar defense or

       counterclaim.

               32.     All proceedings in the Litigation against the Defendants are stayed until

       further order of this Court, except as may be necessary to implement the Settlement or

       comply with the terms of the Stipulation. The Litigation will continue as to PwC.

       Pending final determination of whether the Settlement should be approved, neither the

       Lead Plaintiff nor any Class Member, either directly, representatively, or in any other

       capacity shall commence or prosecute against any of the Released Persons any action

       or proceeding in any court or tribunal asserting any of the Released Claims.

               33.         The Court reserves the right to alter the time or the date of the Final

       Approval Hearing without further notice to Class Members, and retains jurisdiction to

       consider all further applications arising out of or connected with the proposed

       Settlement. The Court may approve the Settlement, with such modifications as may

       be agreed to by the Settling Parties, if appropriate, without further notice to the Class.

               34.         If the Settlement fails to become effective as defined in the Stipulation or

       is terminated, then, in any such event, the Stipulation, including any amendment(s)


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       thereof, except as expressly provided in the Stipulation, and this Order shall be null

       and void, of no further force or effect, and without prejudice to any Settling Party, and

       may not be introduced as evidence or used in any actions or proceedings by any

       person or entity against the Settling Parties, and they shall be deemed to have reverted

       to their respective litigation positions as ofNovember 21, 2019.

               IT IS SO ORDERED.

       DATED:          J/o?,'3/~
                                                 THE HONORABLE DENNI
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                                    EXHIBIT A-1
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      Lead Counsel for Plaintiffs


                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

      In re V ALEANT                 )        Master No. 3: 15-cv-07658-MAS-LHG
      PHARMACEUTICALS                )
      INTERNATIONAL, INC.            )        CLASS ACTION
      SECURITIES LITIGATION          )
      ___________                    )        Judge Michael A. Shipp
                                     )        Magistrate Judge Lois H. Goodman
      This Document Relates To:      )        Special Master Hon. Dennis M. Cavanaugh,
                                     )        U.S.D.J. (Ret.)
                                     )
      Case No. 3:15-cv-07658-MAS-LHG.)        NOTICE OF PENDENCY AND
                                              PROPOSED SETTLEMENT OF CLASS
      ___________                           )
                                              ACTION

                                              EXHIBIT A-1
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      TO: ALL PERSONS AND ENTITIES THAT PURCHASED OR
          OTHERWISE ACQUIRED VALEANT PHARMACEUTICALS
          INTERNATIONAL, INC. ("VALEANT," NOW KNOWN AS BAUSCH
          HEALTH COMPANIES INC.) COMMON STOCK, VALEANT DEBT
          SECURITIES, OR CALL OPTIONS ON VALEANT COMMON STOCK,
          OR SOLD PUT OPTIONS ON VALEANT COMMON STOCK, DURING
          THE PERIOD BETWEEN JANUARY 4, 2013 AND MARCH 15, 2016,
          INCLUSIVE (THE "CLASS PERIOD")

            NOTICE OF PENDENCY OF CLASS ACTION: Please be advised that
            your rights may be affected by the above-captioned class action lawsuit
            pending in this Court (the "Litigation") if you purchased or otherwise
            acquired Valeant Securities 1 during the Class Period. 2

            NOTICE OF SETTLEMENT: Please also be advised that Lead Plaintiff
            TIAA, on behalf of the Class (as defined at page 5 below), has reached a
            proposed settlement of the Litigation for a total of $1,210,000,000.00 in
            cash that will resolve all claims in the Litigation against the Released
            Persons (the "Settlement").3



      1  "Valeant Securities" means Valeant equity securities as defined in 15 U.S.C.
      §78c(l 1) and 17 C.F.R. §240.3al 1-1, and Valeant debt securities, including Valeant
      common stock; options on Valeant common stock, defined to be the purchase or
      acquisition of call options and the sale of put options; and the following Valeant
      senior notes: (1) 5.375% senior notes due 2020; (2) 5.875% senior notes due 2023;
      (3) 6 .125 % senior notes due 2025; (4) 5.5% senior notes due 2023; (5) 5.625% senior
      notes due 2021; (6) 6.75% senior notes due 2018; (7) 7.5% senior notes due 2021;
      (8) 6.375% senior notes due 2020; (9) 7.25% senior notes due 2022; (10) 6.75%
      senior notes due 2021; or ( 11) 7 .0% senior notes due 2020. Valeant Securities does
      not include securities at issue in the Canadian Actions.
      2
         All capitalized terms used in this Notice that are not otherwise defined herein
      shall have the meanings provided in the Stipulation of Settlement dated
      December 15, 2019 (the "Stipulation"), which is available on the website
      www.ValeantSecuritiesSettlement.com.
       3
          The Settlement does not include, and does not release, any claims against
       defendant PricewaterhouseCoopers LLP ("PwC").



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             IN ORDER TO QUALIFY FOR A SETTLEMENT PAYMENT, YOU
             MUST TIMELY SUBMIT A PROOF OF CLAIM AND RELEASE
             FORM BY MAY 6, 2020.

             THIS NOTICE WAS AUTHORIZED BY THE COURT. IT IS NOT A
             LAWYER SOLICITATION. PLEASE READ THIS NOTICE
             CAREFULLY AND IN ITS ENTIRETY.

                          WHY SHOULD I READ THIS NOTICE?

              This Notice is given pursuant to an order issued by the United States District
       Court for the District of New Jersey (the "Court"). This Notice serves to inform you
       of the pendency and proposed settlement of the above-captioned class action lawsuit
       for $1,210,000,000.00 in cash and the hearing (the "Final Approval Hearing") to be
       held by the Court to consider the fairness, reasonableness, and adequacy of the
       Settlement, as set forth in the Stipulation, by and between Lead Plaintiff TIAA, on
       behalf of itself and the Class ( as defined below), on the one hand, and Defendants
       Valeant, current and former officers and directors ofValeant,4 the Stock Underwriter
       Defendants, 5 the ValueAct Defendants 6 (collectively, "Defendants"), and the Former
       Defendants, 7 on the other hand. Defendant PwC is not a party to the Settlement.


       4
          The current and former officer and director defendants include the following:
       J. Michael Pearson; Howard B. Schiller; Robert L. Rosiello; Deborah Jorn; Ari S.
       Kellen; Tanya Carro; Jeffrey W. Ubben; Robert A. Ingram; Ronald H. Farmer;
       Colleen Goggins; Anders Lonner; Theo Melas-Kyriazi; Robert N. Power; Norma
       Provencio; and Katharine B. Stevenson.
       5  The "Stock Underwriter Defendants" include the following: Deutsche Bank
       Securities Inc.; HSBC Securities (USA) Inc.; MUFG Securities Americas Inc. :ftk/a
       Mitsubishi UFJ Securities (USA) Inc.; DNB Markets, Inc. ; Barclays Capital Inc.;
       Morgan Stanley & Co. LLC; RBC Capital Markets, LLC; and Suntrust Robinson
       Humphrey, Inc.
       6  The "ValueAct Defendants" include the following : ValueAct Capital Management,
       L.P.; VA Partners I, LLC; ValueAct Holdings, L.P .; ValueAct Capital Master Fund,
       L.P.; ValueAct Co-Invest Master Fund, L.P.
       7
         The "Former Defendants" include the following: Goldman Sachs & Co. LLC f/k/a
       Goldman Sachs & Co.; J.P. Morgan Securities LLC; Merrill Lynch, Pierce, Fenner &


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             This Notice is intended to inform you bow the pendency of this class action
      and the proposed Settlement may affect your rights and what steps you may take
      in relation to it. This Notice is NOT an expression of any opinion by the Court as
      to the merits of the claims or defenses asserted in the lawsuit or whether the
      Defendants and Former Defendants engaged in any wrongdoing.

           YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT
      SUBMIT A PROOF OF The only way to be eligible to receive a payment from the
      CLAIM AND         Settlement. Proofs of Claim and Release must be
      RELEASE           postmarked (if mailed) or received (if submitted on line)
                        on or before May 6, 2020.
      EXCLUDE                    Receive no payment. This is the only option that
      YOURSELF FROM              potentially allows you to ever be part of any other lawsuit
      THE SETILEMENT             against the Defendants and Former Defendants or any
                                 other Released Persons about the legal claims related to
                                 the issues raised in this Litigation. A written request for
                                 exclusion must be postmarked on or before
                                 May6,2020.
      OBJECT TO THE              Write to the Court about why you do not like the
      SETTLEMENT BY              Settlement, the Plan of Allocation and/or the request for
      SUBMITTING A               attorneys ' fees and expenses. Objections must be filed
      WRITTEN                    with the Court and served on the parties on or
      OBJECTION                  before May 6, 2020.

      GOTO THE                   Ask to speak in Court about the fairness of the Settlement.
      HEARING ON MAY             Requests to speak must be filed with the Court and
      27, 2020, AND FILE A       served on the parties on or before May 6, 2020. If you
      NOTICE OF                  submit a written objection, you may (but you do not
      INTENTION TO               have to) attend the hearing.
      APPEAR
      DONOTIIlNG                 Receive no payment. You will, however, still be a Class
                                 Member, which means that you give up your right to ever
                                 be part of any other lawsuit against the Defendants and
                                 Former Defendants or anv other Released Persons about


      Smith Inc.; CIBC World Markets Inc.; Citigroup Global Markets Inc.; DBS Bank
      Ltd. ; TD Securities (USA) LLC; BMO Capital Markets Corp. ; SMBC Nikko
      Securities America, Inc.



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                                   the legal claims being resolved by this Settlement and you
                                   will be bound by any judgments or orders entered by the
                                   Court in the Litigation.

                                SUMMARY OF TIDS NOTICE

             Description of the Litigation and the Class

             This Notice relates to a proposed settlement of claims in a pending securities
       class action brought by Valeant investors alleging, among other things, that
       Defendants and Former Defendants violated the federal securities laws by making
       materially false and misleading statements or omitting to state facts necessary to make
       statements made not misleading in public filings and other public statements during
       the Class Period. A more detailed description of the Litigation is set forth on pages 7-
       8 below. The "Class" means all Persons who purchased or otherwise acquired
       Valeant Securities between January 4, 2013 and March 15, 2016, inclusive. Those
       excluded from the Class are described in pages 9-10 below. The proposed
       Settlement, if approved by the Court, will settle claims of the Class against the
       Released Persons, as defined on page 41 below.

             Statement of Class Recovery

              Pursuant to the Settlement described herein, a $1,210,000,000.00 settlement
       fund has been established (the "Settlement Amount"). The Settlement Amount
       together with any interest earned thereon is the "Settlement Fund." The Settlement
       Fund, less: (a) any taxes and tax expenses; (b) any Notice and Administration
       Expenses; and (c) any attorneys' fees and litigation charges and expenses (including
       any awards to Plaintiffs pursuant to 15 U.S.C. §78u-4(a)(4) in connection with their
       representation of the Class) awarded by the Court, will be distributed to Class
       Members in accordance with a plan of allocation that is approved by the Court. The
       proposed plan of allocation (the "Plan of Allocation") is set forth on pages 12-35
       below. Based on Lead Plaintiffs estimate of the number of Valeant Securities eligible
       to recover, the average distribution under the Plan of AlJocation is roughly $2.13 per
       common share, before deduction of any taxes on the income earned on the Settlement
       Fund, Notice and Administration Expenses, and attorneys' fees and expenses
       (including any awards to Plaintiffs) as determined by the Court. Class Members
       should note, however, that these are only estimates. A Class Member's actual
       recovery will be a proportion of the Net Settlement Fund determined by that
       claimant's claims as compared to the total claims of all Class Members who submit
       acceptable Proofs of Claim. An individual Class Member may receive more or less


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      than these estimated average amounts. See Plan of Allocation set forth and discussed
      at pages 12-35 below for more information on the calculation of your claim.

              Statement of Potential Outcome of Case

               The Settling Parties disagree on both liability and damages and do not agree on
       the amount of damages per security, if any, that would be recoverable if the Class
       prevailed on each claim alleged. Defendants and Former Defendants deny that they
       are liable to the Class and deny that the Class has suffered any injury or damages. The
       issues on which the parties disagree are many, but include: (1) whether Defendants
       and Former Defendants engaged in conduct that would give rise to any liability to the
       Class under the federal securities laws; (2) whether Defendants and Former
       Defendants have valid defenses to any such claims of liability; (3) the appropriate
       economic model for determining the amount by which the prices ofValeant Securities
       were allegedly artificially inflated (if at all) during the Class Period; (4) the amount, if
       any, by which the prices ofValeant Securities were allegedly artificially inflated (if at
       all) during the Class Period; (5) the effect of various market forces on the prices of
       Valeant Securities at various times during the Class Period; (6) the extent to which
       external factors influenced the prices of Valeant Securities at various times during the
       Class Period; (7) the extent to which the various matters that Plaintiffs alleged were
       materially false or misleading influenced (if at all) the prices ofValeant Securities at
       various times during the Class Period; and (8) the extent to which the various
       allegedly adverse material facts that Lead Plaintiff alleged were omitted influenced (if
       at all) the prices of Valeant Securities during the Class Period.

              Statement of Attorneys' Fees and Expenses Sought

              Lead Counsel will apply to the Court on behalf of all Plaintiffs' Counsel for an
       award of attorneys ' fees not to exceed thirteen percent of the Settlement Amount, plus
       charges and expenses not to exceed $3 million, including award(s) to Plaintiffs of no
       more than $175,000 in the aggregate pursuant to 15 U.S.C. §78u-4(a)(4) in connection
       with their representation of the Class, plus interest earned on these amounts at the
       same rate as earned by the Settlement Fund. Since the Litigation's inception, Lead
       Counsel have expended considerable time and effort in the prosecution of this
       Litigation on a wholly contingent basis and have advanced the expenses of the
       Litigation in the expectation that if they were successful in obtaining a recovery for
       the Class they would be paid from such recovery. The requested fee is the result of a
       negotiation between Lead Counsel and Lead Plaintiff that was designed to align the
       interests of Lead Counsel and the Class in maximizing the net recovery for the Class.
       The requested attorneys' fees, charges and expenses amount to an average cost of


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       approximately $0.28 per common share. The average cost per damaged share will
       vary depending on the number of acceptable Proofs of Claim and Release submitted.

             Further Information

              For further information regarding the Litigation or this Notice or to review
       the Stipulation, please contact the Claims Administrator toll-free at 1-866-824-0721,
       or visit the website www.ValeantSecuritiesSettlement.com.

             You may also contact a representative of counsel for the Class: Rick Nelson,
       Shareholder Relations, Robbins Geller Rudman & Dowd LLP, 655 West Broadway,
       Suite 1900, San Diego, CA 92101, 1-800-449-4900, www.rgrdlaw.com.

          Please Do Not Call the Court or Defendants or Former Defendants with
                              Questions About the Settlement.

              Reasons for the Settlement

              Lead Plaintiff's principal reason for entering into the Settlement is the benefit to
       the C1ass now, without further risk or the delays inherent in continued litigation. The
       cash benefit under the Settlement must be considered against the significant risk that a
       smaller recovery- or, indeed, no recovery at all - might be achieved after trial, and
       likely appeals, a process that could last several years into the future.

               Defendants and Former Defendants have denied and continue to deny each and
       all of the claims alleged by Lead Plaintiff in the Litigation. Defendants and Former
       Defendants expressly have denied and continue to deny all charges of wrongdoing or
       liability against them arising out of any of the conduct, statements, acts or omissions
       alleged, or that could have been alleged, in the Litigation. Defendants and Former
       Defendants also have denied and continue to deny, among other things, the allegations
       that Lead Plaintiff or the Class has suffered any damage, or that Lead Plaintiff or the
       Class was harmed by the conduct alleged in the Litigation. For Defendants and
       Former Defendants, the principal reason for entering into the Settlement is to
       eliminate the uncertainty, risk, costs, and burdens inherent in any litigation, especially
       in complex cases such as this Litigation. Defendants and Former Defendants have
       concluded that further conduct of this Litigation could be expensive, protracted and
       distracting.




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                            WHAT IS THIS LAWSUIT ABOUT?

                                     THE ALLEGATIONS

             The Litigation is currently pending in the United States District Court for the
      District of New Jersey before the Honorable Michael A. Shipp (the "Court"). The
      Litigation was referred to Special Master Judge Dennis M. Cavanaugh, U.S.D.J. (ret),
      on September 10, 2019. The initial complaint in this action was filed on October 22,
      2015. On May 31, 2016, the Court consolidated Civil Action Nos. 15-cv-07679, 15-
      cv-07746, and 15-cv-07809 with this action and appointed TIAA as Lead Plaintiff and
      Robbins Geller Rudman & Dowd LLP ("Robbins Geller") as Lead Counsel.

             Plaintiffs filed the Consolidated Complaint for Violations of the Federal
      Securities Laws ("Complaint") on June 24, 2016. Plaintiffs later filed the First
      Amended Consolidated Complaint for Violations of the Federal Securities Laws
      ("Amended Complaint") on September 20, 2018. The Complaint and Amended
      Complaint allege that certain Defendants and Former Defendants are liable for
      violations of the Securities Act of 1933 and/or the Securities Exchange Act of 1934
      resulting from materially false and misleading statements or omissions of material facts
      necessary to make statements made by those Defendants and Former Defendants in
      public filings and other public statements not misleading. Among other things,
      Plaintiffs allege that those Defendants and Former Defendants are liable for false and
      misleading statements regarding Valeant's business operations and financial
      performance. Plaintiffs further allege that when the truth regarding Valeant's true
      business, operations, and prospects was revealed, artificial inflation was removed from
      the prices of Valeant Securities damaging members of the Class. The Amended
      Complaint also alleges that certain Defendants violated the Securities Exchange Act of
      1934 by selling Valeant Securities while in possession of material, nonpublic
      information. Defendants and Former Defendants deny each and all of Plaintiffs'
      allegations. Defendants and Former Defendants contend that they are not liable for
      any such alleged false or misleading statements and that all information required to be
      disclosed by the federal securities laws was so disclosed. Defendants also contend that
      their actions did not cause Plaintiffs' alleged loss, and the Valeant Defendants contend
      that they did not act with scienter. Defendants and Former Defendants further deny
      that any Defendant sold Valeant Securities while in possession of material, nonpublic
      information or that they sold such Valeant Securities on the basis of material,
      nonpublic information.

           THE COURT HAS NOT RULED AS TO WHETHER DEFENDANTS
       ARE LIABLE TO LEAD PLAINTIFF OR TO THE CLASS. TIDS NOTICE IS
       NOT INTENDED TO BE AN EXPRESSION OF ANY OPINION BY THE

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      COURT WITH RESPECT TO THE TRUTH OF                       THE ALLEGATIONS IN
      THIS LITIGATION OR THE MERITS OF THE                     CLAIMS OR DEFENSES
      ASSERTED. THIS NOTICE IS SOLELY TO                       ADVISE YOU OF THE
      PENDENCY AND PROPOSED SETTLEMENT                         OF THIS ACTION AND
      YOUR RIGHTS IN CONNECTION WITH THAT                      SETTLEMENT.

                                  PROCEDURAL HISTORY

             The parties vigorously litigated this case for four years. The parties submitted
      extensive briefing regarding a motion to lift the discovery stay and after the nearly
      300-page consolidated Complaint was filed, the parties briefed and argued six initial
      motions to dismiss filed by 34 Defendants and Former Defendants. After nearly 400
      pages of briefing and a lengthy hearing, the Court denied the motions to dismiss in
      substantial part, and dismissed all claims against the Former Defendants. The parties
      then engaged in extensive fact and class-related discovery involving Class
      Representatives, Defendants and Former Defendants, and approximately 150 non-
      parties, which included the exchange of over 13 million pages of documents.
      Plaintiffs also conducted interviews of former Valeant employees and certain third
      parties and reviewed the public record, including statements submitted as part of
      Congressional hearings. Plaintiffs moved for class certification on September 28,
      2018. Defendants' time to respond to Plaintiffs' motion for class certification has not
      yet elapsed, and the Court has not ruled on Plaintiffs' motion. Plaintiffs amended the
      Complaint to add insider trading claims against the ValueAct Defendants and
      Defendant Ubben. The ValueAct Defendants and Defendant Ubben moved to dismiss
      the insider trading claims and after the parties exchanged 70 additional pages of
      briefing, the Court denied the ValueAct Defendants' motion to dismiss. The
      ValueAct Defendants and Defendant Ubben continue to deny the insider trading
      allegations.

              During the course of the Litigation, the parties engaged an experienced and
       neutral third-party mediator, Eric D. Green, and held direct settlement discussions.
       The parties exchanged lengthy and detailed briefs and Lead Counsel met in person
       with the mediator and counsel for the Valeant Defendants on September 17, 2018, but
       were unable to reach an agreement. During the following year counsel for the parties
       engaged in numerous teleconferences with the mediator. On November 6, 2019, the
       parties attended another in person mediation after exchanging supplemental mediation
       briefs. Once again the parties were unable to reach an agreement. Then, in response
       to a mediator's proposal, on November 22, 2019, the Settling Parties agreed to settle
       the Litigation with all Defendants and Former Defendants, except PwC, in return for a
       cash payment of $1,210,000,000 for the benefit of the Class.


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                      HOW DO I KNOW IF I AM A CLASS MEMBER?

              If you purchased or otherwise acquired Valeant Securities during the period
       between January 4, 2013 and March 15, 2016, inclusive, and are not otherwise
       excluded, you are a Class Member. As set forth in the Stipulation, excluded from the
       Class are: Defendants and Former Defendants, present and former executive officers
       of Defendants and Former Defendants, and members of their immediate families ,
       present and former directors of Defendants and Former Defendants, and members of
       their immediate families, any entity in which a Defendant or current or former director
       of a Defendant has control and/or a majority ownership interest, and the legal
       representatives, heirs, successors or assigns of any such excluded party. For the
       avoidance of doubt, this exclusion does not extend to: ( 1) any investment company or
       pooled investment fund in which a Defendant or Former Defendant may have a direct
       or indirect interest, or as to which its affiliates may act as an advisor, but of which a
       Defendant or Former Defendant or its respective affiliates is not a majority owner or
       does not hold a majority beneficial interest; or (2) any employee benefit plan as to
       which a Defendant or Former Defendant or its affiliates acts as an investment advisor
       or otherwise may be a fiduciary; provided, however, that membership in the Class by
       such investment company, pooled investment fund or employee benefit plan is limited
       to transactions in Valeant Securities made on behalf of, or for the benefit of, persons
       other than persons that are excluded from the Class by definition. In other words,
       Defendants and Former Defendants cannot make a claim on their own behalf for their
       ownership share in any of the above entities. The Class also excludes: (1) any person
       or entity which during the Class Period purchased or otherwise acquired Valeant
       Securities and has been promised or received a payment from or on behalf of the
       Valeant Defendants related to or arising from litigation related to its Class Period
       transactions in Valeant Securities other than a payment of attorneys fees or costs to
       counsel for such person or entity; (2) any Class Member on Exhibit A to the Final
       Judgment that validly and timely requested exclusion in accordance with the
       requirements set by the Court in this Notice; and (3) anyone on Exhibit B to the Final
       Judgment who has filed an individual action and not dismissed their claim and sought
       to be included in the Class.

              PLEASE NOTE: Receipt of this Notice does not mean that you are a Class
       Member or that you will be entitled to receive a payment from the Settlement. If you
       are a Class Member and you wish to be eligible to participate in the distribution of
       proceeds from the Settlement, you are required to submit the Proof of Claim and
       Release that is being distributed with this Notice and the required supporting
       documentation as set forth therein postmarked or submitted online on or before
       May 6, 2020.


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               WHAT IS THE MONETARY VALUE OF THE PROPOSED
                              SETTLEMENT?

             The Settlement, if approved, will result in the creation of a cash settlement fund
      of $1,210,000,000.00. This fund, plus accrued interest and minus the costs of this
      Notice and all costs associated with the administration of the Settlement, any taxes
      and tax expenses, as well as attorneys' fees and expenses, and any award to Plaintiffs
      pursuant to 15 U.S.C. §78u-4(a)(4) in connection with their representation of the
      Class, as approved by the Court (the "Net Settlement Fund"), will be distributed to
      eligible Class Members pursuant to the Plan of Allocation that is described in the next
      section of this Notice.

                 WHAT IS THE PROPOSED PLAN OF ALLOCATION?

             If the Settlement is approved by the Court, the Net Settlement Fund will be
      distributed to eligible Authorized Claimants- i.e., members of the Class who timely
      submit valid Claim Forms that are accepted for payment by the Court- in accordance
      with this proposed Plan of Allocation ("Plan of Allocation" or "Plan") or such other
      plan of allocation as the Court may approve. Class Members who do not timely
      submit valid Claim Forms will not share in the Net Settlement Fund, but will
      otherwise be bound by the Settlement. The Court may approve this proposed Plan of
      Allocation, or modify it, without additional notice to the Class. Any order modifying
      the Plan of Allocation will be posted on the settlement website,
      www .ValeantSecuritiesSettlement.com.

             The Plan of Allocation is intended to compensate Class Members who
       purchased or acquired Valeant common stock, call options, and/or certain bonds8 ,

       8  There are eleven (11) bonds eligible for Exchange Act claims: (i) the 5.375%
       senior notes due 2020, CUSIP 9183 lAAA (the "AAA Notes"); (ii) the 5.875% senior
       notes due 2023, CUSIP 9183 lAAB (the "AAB Notes"); (iii) the 6.125% senior notes
       due 2025, CUSIP 91831AAC (the "AAC Notes"); (iv) the 7.5% senior notes due
       2021, CUSIP 92912EAA (the "EAA Notes"); (v) the 6.75% senior notes due 2018,
       CUSIP 92912EAC (the "EAC Notes"); (vi) the 6.3 75% senior notes due 2020, CUSIP
       91829KAA (the "KAA Notes"); (vii) the 5.625% senior notes due 2021, CUSIP
       91911KAD (the "KAD Notes"); (viii) the 5.5% senior notes due 2023, CUSIP
       91911:KAE (the "KAE Notes"); (ix) the 7.0% senior notes due 2020, CUSIP
       9191 lXAM (the "XAM Notes"); (x) the 6.75% senior notes due 2021, CUSIP
       9191 lXAQ (the "XAQ Notes"); and (xi) the 7.25% senior notes due 2022, CUSIP
       9191 lXAS (the "XAS Notes").


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      and/or sold put options during the Class Period and were damaged thereby under the
      Securities Exchange Act of 1934 ("Exchange Act") and Class Members who
      purchased or acquired Valeant common stock9 pursuant to certain registration
      statements or offering materials 10 and were damaged thereby under the Securities Act
      of 1933 ("Securities Act"). Collectively, the Valeant common stock, call options, put
      options, and bonds that were damaged under the Exchange Act are referred to as the
      "Exchange Act Securities." Shares of Valeant common stock that were damaged
      under the Securities Act are referred to as the "Securities Act Securities." No other
      securities other than the Exchange Act Securities and Securities Act Securities are
      eligible for compensation under the Settlement. 11

              In this case, Plaintiffs allege that Defendants made false statements and omitted
      material facts during the Class Period, which had the effect of artificially inflating the
      prices of the Valeant Securities. As the result of the alleged corrective disclosures,
      artificial inflation was removed from the prices of Valeant Securities on September
      28, 2015, September 29, 2015, October 5, 2015, October 15, 2015, October 19, 2015,
      October 20, 2015, October 21, 2015, October 22, 2015, October 26, 2015, October 29,
      2015, October 30, 2015, November 4, 2015, November 5, 2015, February 19, 2016,
      February 22, 2016, February 29, 2016, March 15, 2016, and June 7, 2016.

                ALLOCATION OF THE NET SETTLEMENT FUND

            As detailed below, the Net Settlement Fund will be allocated on a pro rata basis
      according to recognized claims for Class Member's Exchange Act damages (which
      will be calculated based on the claimant's purchases of Valeant Exchange Act
      Securities during the Class Period) and Class Member's Securities Act damages


      9  Bonds are not eligible for Securities Act claims under this Plan of Allocation.
      Neither call options purchased nor put options sold are eligible for Securities Act
      claims under this Plan of Allocation.
       10
         These registration statements were: the March 16, 2015 Form 424(b)5 Prospectus
      Supplement (to the shelf registration and prospectus dated June 10, 2013), and the
      March 18, 2015 Form 424(b)5 Prospectus Supplement (to the prospectus dated June
      10, 2013). Collectively, the "March 2015 Offering Materials."
       11
          The Exchange Act Securities and the Securities Act Securities are referred to
       collectively as the "Valeant Securities" or as a "Valeant Security."



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      (which will be calculated based on the claimant's purchases ofValeant Securities Act
      Securities pursuant to a Registration Statement). 12

              The Net Settlement Fund will be allocated to Authorized Claimants as follows:
      (a) at least 95% of the Net Settlement Fund will be allocated collectively to Valeant
      common stock and the specified Valeant debt securities; and (b) no more than 5% of
      the Net Settlement Fund will be allocated to options on Valeant common stock.

                    CALCULATION OF RECOGNIZED LOSS AMOUNTS

            For each Class Period purchase of a Valeant Security that is properly
      documented, a "Recognized Loss Amount" will be calculated for that security
      according to the formulas described below. Such Recognized Loss Amounts will be
      aggregated across all Valeant Securities to determine the "Overall Recognized Loss
      Amounts" for each Class Member.

             The calculations made pursuant to the Plan of Allocation are not intended to be
      estimates of, nor indicative of, the amounts that Class Members might have been able
      to recover after a trial. Nor are the calculations pursuant to the Plan of Allocation
      intended to be estimates of the amounts that will be paid to Authorized Claimants
      pursuant to the Settlement. The computations under the Plan of Allocation are only a
      method to weigh the claims of claimants against one another for the purposes of
      making pro rata allocations of the Net Settlement Fund.

      I.    EXCHANGE ACT RECOGNIZED LOSS AMOUNTS

             For the Exchange Act Securities, estimated damages and the Plan were
      developed based on event study analysis, which determines how much artificial
      inflation was in the prices of such securities on each day during the Class Period by
      measuring how much the prices declined as a result of disclosures that corrected the
      alleged misrepresentations and omissions. An Exchange Act Recognized Loss
      Amount is calculated for each Class Member who purchased Exchange Act Securities
      during the Class Period based on when that claimant purchased and sold the securities,
      or retained the securities beyond the end of the Class Period.


      12
         Unless otherwise indicated, any transactions in Valeant Exchange Act Securities or
      Securities Act Securities executed outside of regular trading hours for the U.S.
      financial markets shall be deemed to have occurred during the next regular trading
      sess10n.



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            Based on the formulas presented below, an "Exchange Act Recognized Loss
      Amount" will be calculated for each purchase or acquisition ofValeant Exchange Act
      Securities during the Class Period that is listed on the Claim Form and for which
      adequate documentation is provided. If a Recognized Loss Amount calculates to a
      negative number or zero under the formula below, that Recognized Loss Amount will
      be zero.

              A.    Calculation of Exchange Act Recognized Loss Amount for
                    Class Members with lO(b) Claims

                    1.     Valeant Common Stock

            1. For each share of Valeant common stock purchased or otherwise acquired
      during the Class Period, the claim per share shall be as follows:

                     (a)  Sold with an equal, or greater, level of percent inflation (see Table-
              A), the Exchange Act Recognized Loss Amount is zero.

                    (b) Sold prior to September 28, 2015, the Exchange Act Recognized
              Loss Amount per share is zero.

                    (c)     Sold on or after September 28, 2015 and prior to the close of
              trading on June 7, 2016, the Exchange Act Recognized Loss Amount per share
              is equal to the lesser of:

                           (i)   the purchase price multiplied by the percent inflation at the
      time of purchase (see Table-A) less the sales price multiplied by the percent inflation
      at the time of sale (see Table-A); and

                           (ii)   the difference between the purchase price and the sales
      pnce.

                     (d)    Retained at the end of June 7, 2016, and sold on or before
              September 2, 2016, the Exchange Act Recognized Loss Amount per share is
              equal to the least of:

                          (i)    the purchase price multiplied by the percent inflation at the
                    time of purchase (see Table-A);

                           (ii)   the difference between the purchase price and the sales
                    price; and



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                         (iii) the difference between the purchase price and the average
                   closing price up to the date of sale as set forth in Table-C below.

                   (e)    Held as of the close of trading on September 2, 2016, or sold
            thereafter, the Exchange Act Recognized Loss Amount per share is equal to the
            lesser of:

                         (i)   the purchase price multiplied by the percent inflation at the
                   time of purchase (see Table-A); and

                           (ii)   the difference between the purchase price and $24.43 per
                   share. 13

                   2.      Valeant AAA Note

            For each $100 of par ofValeant AAA Notes purchased or otherwise acquired
      during any of the periods shown below in Table-B, and:

                (a)     Sold within the same period, the Exchange Act Recognized Loss
            Amount is zero.

                  (b) Sold prior to September 28, 2015, the Exchange Act Recognized
            Loss Amount per share is zero.

                  (c)     Sold on or after September 28, 2015 and prior to the close of
            trading on June 7, 2016, the Exchange Act Recognized Loss Amount per share
            is equal to the lesser of: (i) the inflation at purchase per $ 100 of par less the

       13
          Under Section 21 (D)(e )( 1) of the Exchange Act, "in any private action arising
      under this Act in which the plaintiff seeks to establish damages by reference to the
      market price of a security, the award of damages to the plaintiff shall not exceed the
      difference between the purchase or sale price paid or received, as appropriate, by the
      plaintiff for the subject security and the mean trading price of that security during the
      90-day period beginning on the date on which the information correcting the
      misstatement or omission that is the basis for the action is disseminated to the
      market." Consistent with the requirements of the statute, Exchange Act Recognized
      Loss Amounts for Valeant common stock are reduced to an appropriate extent by
      taking into account the closing prices of Valeant common stock during the 90-day
      look-back period. The mean (average) closing price for Valeant common stock during
      this 90-day look-back period was $24.43 per share as shown in Table-C.



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             inflation at sale per $100 of par (see Table-B); and (ii) the purchase price less
             the sales price.

                    (d)    Retained at the end of June 7, 2016, and sold on or before
             September 2, 2016, the Exchange Act Recognized Loss Amount per $100 of
             par is equal to the least of: (i) the inflation at purchase per $100 of par less the
             inflation at sale per $100 of par (see Table-B); (ii) the purchase price less the
             sales price; and (iii) the difference between the purchase price and the average
             price up to the date of sale as set forth in Table-C below.

                    (e)    Held as of the close of trading on September 2, 2016, or sold
             thereafter, the Exchange Act Recognized Loss Amount per $100 of par is equal
             to the lesser of: (i) the inflation at purchase per $100 of par less the inflation at
             sale per $100 of par (see Table-B); and (ii) the difference between the purchase
             price and $89.74 per $100 ofpar. 14

                    3.     Valeant AAB Note

            For each $100 of par ofValeant AAB Notes purchased or otherwise acquired
      during any of the periods shown below in Table-B, and:

                 (a)     Sold within the same period, the Exchange Act Recognized Loss
             Amount is zero.

                   (b) Sold prior to September 28, 2015, the Exchange Act Recognized
             Loss Amount per share is zero.

                    (c)    Sold on or after September 28, 2015 and prior to the close of
             trading on June 7, 2016, the Exchange Act Recognized Loss Amount per share
             is equal to the lesser of: (i) the inflation at purchase per $100 of par less the
             inflation at sale per $100 of par (see Table-B); and (ii) the purchase price less
             the sales price.


       14 Consistent with the requirements of Section 21(D)(e)(l) of the Exchange Act,
       Exchange Act Recognized Loss Amounts for Valeant AAA Notes are reduced to an
       appropriate extent by taking into account the closing prices for Valeant AAA Notes
       during the 90-day look-back period. The mean (average) price for Valeant AAA
       Notes during this 90-day look-back period was $89.74 per $100 of par as shown in
       Table-C.



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                   (d)    Retained at the end of June 7, 2016, and sold on or before
            September 2, 2016, the Exchange Act Recognized Loss Amount per $100 of
            par is equal to the least of: (i) the inflation at purchase per $100 of par less the
            inflation at sale per $100 of par (see Table-B); (ii) the purchase price less the
            sales price; and (iii) the difference between the purchase price and the average
            price up to the date of sale as set forth in Table-C below.

                   (e)    Held as of the close of trading on September 2, 2016, or sold
            thereafter, the Exchange Act Recognized Loss Amount per $100 of par is equal
            to the lesser of: (i) the inflation at purchase per $100 of par less the inflation at
            sale per $100 of par (see Table-B); and (ii) the difference between the purchase
            price and $84.32 per $100 of par. 15

                   4.     Valeant AAC Note

             For each $100 of par ofValeant AAC Notes purchased or otherwise acquired
       during any of the periods shown below in Table-B, and:

                 (a)     Sold within the same period, the Exchange Act Recognized Loss
             Amount is zero.

                   (b) Sold prior to September 28, 2015, the Exchange Act Recognized
             Loss Amount per share is zero.

                    ( c)   Sold on or after September 28, 2015 and prior to the close of
             trading on June 7, 2016, the Exchange Act Recognized Loss Amount per share
             is equal to the lesser of: (i) the inflation at purchase per $100 of par less the
             inflation at sale per $100 of par (see Table-B); and (ii) the purchase price less
             the sales price.

                    ( d)   Retained at the end of June 7, 2016, and sold on or before
             September 2, 2016, the Exchange Act Recognized Loss Amount per $100 of
             par is equal to the least of: (i) the inflation at purchase per $100 of par less the

       15 Consistent with the requirements of Section 21 (D)( e)( 1) of the Exchange Act,
       Exchange Act Recognized Loss Amounts for Valeant AAB Notes are reduced to an
       appropriate extent by taking into account the closing prices for Valeant AAB Notes
       during the 90-day look-back period. The mean (average) price for Valeant AAB
       Notes during this 90-day look-back period was $84.32 per $100 of par as shown in
       Table-C.



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            inflation at sale per $100 of par (see Table-B); (ii) the purchase price less the
            sales price; and (iii) the difference between the purchase price and the average
            price up to the date of sale as set forth in Table-C below.

                   (e)    Held as of the close of trading on September 2, 2016, or sold
            thereafter, the Exchange Act Recognized Loss Amount per $100 ofpar is equal
            to the lesser of: (i) the inflation at purchase per $100 of par less the inflation at
            sale per $100 of par (see Table-B); and (ii) the difference between the purchase
            price and $83.72 per $100 ofpar. 16

                   5.     Valeant EAA Note

             For each $100 of par ofValeant EAA Notes purchased or otherwise acquired
       during any of the periods shown below in Table-B, and:

                 (a)     Sold within the same period, the Exchange Act Recognized Loss
             Amount is zero.

                   (b) Sold prior to September 28, 2015, the Exchange Act Recognized
             Loss Amount per share is zero.

                    (c)    Sold on or after September 28, 2015 and prior to the close of
             trading on June 7, 2016, the Exchange Act Recognized Loss Amount per share
             is equal to the lesser of: (i) the inflation at purchase per $100 of par less the
             inflation at sale per $100 of par (see Table-B); and (ii) the purchase price less
             the sales price.

                    (d)    Retained at the end of June 7, 2016, and sold on or before
             September 2, 2016, the Exchange Act Recognized Loss Amount per $100 of
             par is equal to the least of: (i) the inflation at purchase per $100 of par less the
             inflation at sale per $ 100 of par (see Table-B); (ii) the purchase price less the
             sales price; and (iii) the difference between the purchase price and the average
             price up to the date of sale as set forth in Table-C below.

       16 Consistent with the requirements of Section 2l(D)(e)(l) of the Exchange Act,
       Exchange Act Recognized Loss Amounts for Valeant AAC Notes are reduced to an
       appropriate extent by taking into account the closing prices of Valeant AAC Notes
       during the 90-day look-back period. The mean (average) price for Valeant AAC
       Notes during this 90-day look-back period was $83.72 per $100 of par as shown in
       Table-C.



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                   (e)    Held as of the close of trading on September 2, 2016, or sold
            thereafter, the Exchange Act Recognized Loss Amount per $100 of par is equal
            to the lesser of: (i) the inflation at purchase per $100 of par less the inflation at
            sale per $100 of par (see Table-B); and (ii) the difference between the purchase
            price and $92. 70 per $100 of par .17

                   6.      Valeant EAC Note

            For each $100 of par ofValeant EAC Notes purchased or otherwise acquired
      during any of the periods shown below in Table-B, and:

                (a)     Sold within the same period, the Exchange Act Recognized Loss
            Amount is zero.

                   (b) Sold prior to September 28, 2015, the Exchange Act Recognized
             Loss Amount per share is zero.

                    ( c)   Sold on or after September 28, 2015 and prior to the close of
             trading on June 7, 2016, the Exchange Act Recognized Loss Amount per share
             is equal to the lesser of: (i) the inflation at purchase per $100 of par less the
             inflation at sale per $100 of par (see Table-B); and (ii) the purchase price less
             the sales price.

                    (d)    Retained at the end of June 7, 2016, and sold on or before
             September 2, 2016, the Exchange Act Recognized Loss Amount per $100 of
             par is equal to the least of: (i) the inflation at purchase per $100 of par less the
             inflation at sale per $100 of par (see Table-B); (ii) the purchase price less the
             sales price; and (iii) the difference between the purchase price and the average
             price up to the date of sale as set forth in Table-C below.

                     (e)   Held as of the close of trading on September 2, 2016, or sold
             thereafter, the Exchange Act Recognized Loss Amount per $100 of par is equal
             to the lesser of: (i) the inflation at purchase per $100 of par less the inflation at

       17
          Consistent with the requirements of Section 21(D)(e)(l) of the Exchange Act,
       Exchange Act Recognized Loss Amounts for Valeant EAA Notes are reduced to an
       appropriate extent by taking into account the closing prices of Valeant EAA Notes
       during the 90-day look-back period. The mean (average) price for Valeant EAA
       Notes during this 90-day look-back period was $92.70 per $100 of par as shown in
       Table-C.



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            sale per $100 of par (see Table-B); and (ii) the difference between the purchase
            price and $98.55 per $100 of par.18

                  7.     Valeant KAA Note

            For each $100 of par ofValeant K.AA Notes purchased or otherwise acquired
      during any of the periods shown below in Table-B, and:

                (a)     Sold within the same period, the Exchange Act Recognized Loss
            Amount is zero.

                  (b) Sold prior to September 28, 2015, the Exchange Act Recognized
            Loss Amount per share is zero.

                   (c)    Sold on or after September 28, 2015 and prior to the close of
            trading on June 7, 2016, the Exchange Act Recognized Loss Amount per share
            is equal to the lesser of: (i) the inflation at purchase per $100 of par less the
            inflation at sale per $100 of par (see Table-B); and (ii) the purchase price less
            the sales price.

                   (d) Retained at the end of June 7, 2016, and sold on or before
            September 2, 2016, the Exchange Act Recognized Loss Amount per $100 of
            par is equal to the least of: (i) the inflation at purchase per $100 of par less the
            inflation at sale per $100 of par (see Table-B); (ii) the purchase price less the
            sales price; and (iii) the difference between the purchase price and the average
            price up to the date of sale as set forth in Table-C below.

                    (e)   Held as of the close of trading on September 2, 2016, or sold
            thereafter, the Exchange Act Recognized Loss Amount per $100 of par is equal
            to the lesser of: (i) the inflation at purchase per $100 of par less the inflation at




      18
         Consistent with the requirements of Section 21(D)(e)(l) of the Exchange Act,
      Exchange Act Recognized Loss Amounts for Valeant EAC Notes are reduced to an
      appropriate extent by taking into account the closing prices of Valeant EAC Notes
      during the 90-day look-back period. The mean (average) price for Valeant EAC
      Notes during this 90-day look-back period was $98.55 per $100 of par as shown in
      Table-C.



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            sale per $100 of par (see Table-B); and (ii) the difference between the purchase
            price and $90.45 per $100 of par. 19

                   8.     Valeant KAD Note
            For each $100 of par ofValeant KAD Notes purchased or otherwise acquired
      during any of the periods shown below in Table-B, and:

                (a)     Sold within the same period, the Exchange Act Recognized Loss
            Amount is zero.

                  (b) Sold prior to September 28, 2015, the Exchange Act Recognized
            Loss Amount per share is zero.

                   (c)    Sold on or after September 28, 2015 and prior to the close of
            trading on June 7, 2016, the Exchange Act Recognized Loss Amount per share
            is equal to the lesser of: (i) the inflation at purchase per $100 of par less the
            inflation at sale per $100 of par (see Table-B); and (ii) the purchase price less
            the sales price.

                    (d)    Retained at the end of June 7, 2016, and sold on or before
             September 2, 2016, the Exchange Act Recognized Loss Amount per $100 of
             par is equal to the least of: (i) the inflation at purchase per $100 of par less the
             inflation at sale per $100 of par (see Table-B); (ii) the purchase price less the
             sales price; and (iii) the difference between the purchase price and the average
             price up to the date of sale as set forth in Table-C below.

                    ( e)   Held as of the close of trading on September 2, 2016, or sold
             thereafter, the Exchange Act Recognized Loss Amount per $100 of par is equal
             to the lesser of: (i) the inflation at purchase per $100 of par less the inflation at




       19
          Consistent with the requirements of Section 2l(D)(e)(l) of the Exchange Act,
       Exchange Act Recognized Loss Amounts for Valeant KAA Notes are reduced to an
       appropriate extent by taking into account the closing prices ofValeant KAA Notes
       during the 90-day look-back period. The mean (average) price for Valeant KAA
       Notes during this 90-day look-back period was $90.45 per $100 of par as shown in
       Table-C.



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             sale per $100 of par (see Table-B); and (ii)the difference between the purchase
             price and $85.97 per $100 of par. 20

                   9.     Valeant KAE Note

             For each $100 of par ofValeant KAE Notes purchased or otherwise acquired
       during any of the periods shown below in Table-B, and:

                 (a)     Sold within the same period, the Exchange Act Recognized Loss
             Amount is zero.

                   (b) Sold prior to September 28, 2015, the Exchange Act Recognized
             Loss Amount per share is zero.

                    (c)    Sold on or after September 28, 2015 and prior to the close of
             trading on June 7, 2016, the Exchange Act Recognized Loss Amount per share
             is equal to the lesser of: (i) the inflation at purchase per $100 of par less the
             inflation at sale per $100 of par (see Table-B); and (ii) the purchase price less
             the sales price.

                    (d)    Retained at the end of June 7, 2016, and sold on or before
             September 2, 2016, the Exchange Act Recognized Loss Amount per $100 of
             par is equal to the least of: (i) the inflation at purchase per $100 of par less the
             inflation at sale per $100 of par (see Table-B); (ii) the purchase price less the
             sales price; and (iii) the difference between the purchase price and the average
             price up to the date of sale as set forth in Table-C below.

                     (e)   Held as of the close of trading on September 2, 2016, or sold
             thereafter, the Exchange Act Recognized Loss Amount per $100 of par is equal
             to the lesser of: (i) the inflation at purchase per $100 of par less the inflation at




       2
        ° Consistent with the requirements of Section 21 (D)( e)(1) of the Exchange Act,
       Exchange Act Recognized Loss Amounts for Valeant KAD Notes are reduced to an
       appropriate extent by taking into account the closing prices of Valeant KAD Notes
       during the 90-day look-back period. The mean (average) price for Valeant KAD
       Notes during this 90-day look-back period was $85.97 per $100 of par as shown in
       Table-C.



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            sale per $100 of par (see Table-B); and (ii) the difference between the purchase
            price and $83.15 per $100 of par. 21

                    10.   Valeant XAM Note

            For each $100 of par of Valeant XAM Notes purchased or otherwise acquired
      during any of the periods shown below in Table-B, and:

                 (a)     Sold within the same period, the Exchange Act Recognized Loss
             Amount is zero.

                   (b) Sold prior to September 28, 2015, the Exchange Act Recognized
             Loss Amount per share is zero.

                    ( c)   Sold on or after September 28, 2015 and prior to the close of
             trading on June 7, 2016, the Exchange Act Recognized Loss Amount per share
             is equal to the lesser of: (i) the inflation at purchase per $100 of par less the
             inflation at sale per $100 of par (see Table-B); and (ii) the purchase price less
             the sales price.

                    (d)    Retained at the end of June 7, 2016, and sold on or before
             September 2, 2016, the Exchange Act Recognized Loss Amount per $100 of
             par is equal to the least of: (i) the inflation at purchase per $100 of par less the
             inflation at sale per $100 of par (see Table-B); (ii) the purchase price less the
             sales price; and (iii) the difference between the purchase price and the average
             price up to the date of sale as set forth in Table-C below.

                    ( e)   Held as of the close of trading on September 2, 2016, or sold
             thereafter, the Exchange Act Recognized Loss Amount per $100 of par is equal
             to the lesser of: (i) the inflation at purchase per $100 of par less the inflation at




       21 Consistent with the requirements of Section 2l(D)(e)(l) of the Exchange Act,
       Exchange Act Recognized Loss Amounts for Valeant KAE Notes are reduced to an
       appropriate extent by taking into account the closing prices of Valeant KAE Notes
       during the 90-day look-back period. The mean (average) price for Valeant KAE
       Notes during this 90-day look-back period was $83.15 per $100 of par as shown in
       Table-C.



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            sale per $100 of par (see Table-B); and (ii) the difference between the purchase
            price and $93.37 per $100 of par. 22

                   11.    Valeant XAQ Note

            For each $100 of par ofValeant XAQ Notes purchased or otherwise acquired
      during any of the periods shown below in Table-B, and:

                (a)     Sold within the same period, the Exchange Act Recognized Loss
            Amount is zero.

                  (b) Sold prior to September 28, 2015, the Exchange Act Recognized
            Loss Amount per share is zero.

                   (c)    Sold on or after September 28, 2015 and prior to the close of
            trading on June 7, 2016, the Exchange Act Recognized Loss Amount per share
            is equal to the lesser of: (i) the inflation at purchase per $100 of par less the
            inflation at sale per $100 of par (see Table-B); and (ii) the purchase price less
            the sales price.

                   (d) Retained at the end of June 7, 2016, and sold on or before
            September 2, 2016, the Exchange Act Recognized Loss Amount per $100 of
            par is equal to the least of: (i) the inflation at purchase per $100 of par less the
            inflation at sale per $100 of par (see Table-B); (ii) the purchase price less the
            sales price; and (iii) the difference between the purchase price and the average
            price up to the date of sale as set forth in Table-C below.

                   (e)    Held as of the close of trading on September 2, 2016, or sold
            thereafter, the Exchange Act Recognized Loss Amount per $100 of par is equal
            to the lesser of: (i) the inflation at purchase per $100 of par less the inflation at




      22
         Consistent with the requirements of Section 21(D)(e)(l) of the Exchange Act,
      Exchange Act Recognized Loss Amounts for Valeant XAM Notes are reduced to an
      appropriate extent by taking into account the closing prices ofValeant XAM Notes
      during the 90-day look-back period. The mean (average) price for Valeant XAM
      Notes during this 90-day look-back period was $93.37 per $100 of par as shown in
      Table-C.



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            sale per $100 of par (see Table-B); and (ii) the difference between the purchase
            price and $90.19 per $100 ofpar. 23

                   12.   Valeant XAS Note

            For each $100 of par ofValeant XAS Notes purchased or otherwise acquired
      during any of the periods shown below in Table-B, and:

                (a)     Sold within the same period, the Exchange Act Recognized Loss
            Amount is zero.

                  (b) Sold prior to September 28, 2015, the Exchange Act Recognized
            Loss Amount per share is zero.

                   (c)    Sold on or after September 28, 2015 and prior to the close of
            trading on June 7, 2016, the Exchange Act Recognized Loss Amount per share
            is equal to the lesser of: (i) the inflation at purchase per $100 of par less the
            inflation at sale per $100 of par (see Table-B); and (ii) the purchase price less
            the sales price.

                   (d)    Retained at the end of June 7, 2016, and sold on or before
            September 2, 2016, the Exchange Act Recognized Loss Amount per $100 of
            par is equal to the least of: (i) the inflation at purchase per $100 of par less the
            inflation at sale per $100 of par (see Table-B); (ii) the purchase price less the
            sales price; and (iii) the difference between the purchase price and the average
            price up to the date of sale as set forth in Table-C below.

                   (e)    Held as of the close of trading on September 2, 2016, or sold
            thereafter, the Exchange Act Recognized Loss Amount per $100 of par is equal
            to the lesser of: (i) the inflation at purchase per $100 of par less the inflation at




      23
         Consistent with the requirements of Section 21(D)(e)(l) of the Exchange Act,
      Exchange Act Recognized Loss Amounts for Valeant XAQ Notes are reduced to an
      appropriate extent by taking into account the closing prices of Valeant XAQ Notes
      during the 90-day look-back period. The mean (average) price for Valeant XAQ
      Notes during this 90-day look-back period was $90.19 per $100 of par as shown in
      Table-C.



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             sale per $100 of par (see Table-B); and (ii) the difference between the purchase
             price and $89.85 per $100 of par. 24

                    13.   Options

             In order to have an Exchange Act Recognized Loss Amount for options on
      Valeant common stock, the option contract must have been purchased or written
      (sold) and the position remained open through at least one of the following dates:
      September 28, 2015 , September 29, 2015 , October 5, 2015, October 15, 2015, October
      19, 2015, October 20, 2015, October 21, 2015, October 22, 2015, October 26, 2015 ,
      October 29, 2015, October 30, 2015, November 4, 2015, November 5, 20 15, February
      19, 2016, February 22, 2016, February 29, 2016, March 15, 2016, and/or June 7,
      2016. 25

             1.    For call options on Valeant common stock purchased or otherwise
       acquired during the Class Period, and:

                   (a)   Closed (through sale, exercise or expiration) before September 28,
             2015, the Exchange Act Recognized Loss Amount is zero.

                   (b)    Closed (through sale, exercise or expiration) without being held
             through at least one of the above-mentioned disclosures (see page 26), the
             Exchange Act Recognized Loss Amount is zero.



       24
          Consistent with the requirements of Section 21(D)(e)(l) of the Exchange Act,
       Exchange Act Recognized Loss Amounts for Valeant XAS Notes are reduced to an
       appropriate extent by taking into account the closing prices of Valeant XAS Notes
       during the 90-day look-back period. The mean (average) price for Valeant XAS
       Notes during this 90-day look-back period was $89 .85 per $100 of par as shown in
       Table-C.
       25 To participate in the Settlement, claimants must provide adequate documentation
       to establish that each call option and put option purchased or sold remained open
       through at least one of the disclosures identified above. With respect to shares of
       Valeant common stock purchased or sold through the exercise of an option, the
       purchase/sale date of the Valeant common stock is the exercise date of the option, and
       the purchase/sale price of the Valeant common stock is the exercise price of the
       option.



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                    (c)    Held though at least one of the above-mentioned disclosures (see
             page 26), the Exchange Act Recognized Loss Amount is the difference between
             the price paid for the call option less the proceeds received upon settlement of
             the call option contract.

            2.   For call options on Valeant common stock written or otherwise sold, the
       Exchange Act Recognized Loss Amount is zero.

             3.    For put options on Valeant common stock written or otherwise sold
       during the Class Period, and:

                  (a)   Closed (through purchase, exercise or expiration) before
             September 28, 2015, the Exchange Act Recognized Loss Amount is zero.

                    (b)   Closed (through purchase, exercise or expiration) without being
             held through at least one of the above-mentioned disclosures (see page 26), the
             Exchange Act Recognized Loss Amount is zero.

                   (c)     Held though at least one of the above-mentioned disclosures (see
             page 26), the Exchange Act Recognized Loss Amount is the difference between
             the amount(s) paid upon settlement of the put option contract less the initial
             proceeds received upon the sale of the put option contract.

             4.     For put options on Valeant common stock purchased or otherwise
       acquired, the Exchange Act Recognized Loss Amount is zero.

             B.    Calculation of Exchange Act Recognized Loss Amount for
                   Class Members with 20A Claims

                   1.     Valeant Common Stock

             Based on the formulas stated below, an "Exchange Act Recognized Loss
       Amount" will be calculated for each purchase or acquisition ofValeant common stock
       between June 10, 2015 and June 15, 2015, inclusive, that is listed on the Claim Form
       and for which adequate documentation is provided.

            For each share of Valeant common stock purchased or otherwise acquired
       between June 10, 2015 and June 15, 2015, inclusive, and:

                   (a)     Sold prior to September 28, 2015, the Recognized Loss Amount
             per share is zero.



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                   (b)   Sold on or after September 28, 2015 and prior to the close of
            trading on June 7, 2016, the Recognized Loss Amount per share is the
            difference between the purchase price and the sale price.

                  (c)     Retained at the end of June 7, 2016, the Recognized Loss Amount
            per share is the difference between the purchase price and $24.64 .

             Class Members who did not purchase or otherwise acquire Valeant common
      stock between June 10, 2015 and June 15, 2015, inclusive, do not have a valid Section
      20A Claim under this Plan of Allocation. Class Members with Section 20A Claims in
      connection with their purchases or acquisitions of Valeant common stock between
      June 10, 2015 and June 15, 2015, inclusive, shall forfeit their Section IO(b) Claims in
      connection with those purchases.

      II.   SECURITIES ACT RECOGNIZED LOSS AMOUNTS

            Securities Act claims were asserted with respect to Valeant Securities Act
      Securities purchased or otherwise acquired pursuant or traceable to the March 2015
      Offering Materials. The Section 11 Securities Act claims asserted in the Litigation
      serve as the basis for the calculation of Securities Act Recognized Loss Amounts.
      Section 11 provides a statutory formula for the calculation of damages under that
      provision. The formula set forth below, developed by Plaintiffs' damages expert
      generally tracks the statutory scheme for causation and damages. For purposes of the
      calculations, June 24, 2016 is the date of suit, and is the proxy for the date of
      judgment.

            Based on the formulas stated below, a "Securities Act Recognized Loss
      Amount" will be calculated for each purchase/acquisition ofVaJeant Securities Act
      Securities. If a Securities Act Recognized Loss Amount calculates to a negative
      number or zero under the formula below, that number wiJl be zero.

              For the Securities Act Securities, a Securities Act Recognized Loss Amount
      will be calculated as set forth below for each purchase or other acquisition of a
      security pursuant or traceable to a Registration Statement. The calculation of a
      Securities Act Recognized Loss Amount will depend upon several factors, including
      (i) when the security was purchased or otherwise acquired; and (ii) whether the
      security was sold, and if so, when it was sold, and for what amount. The "value" of a
      security on the date on which a complaint was first filed aJleging claims under Section
      11 of the Securities Act is relevant for purposes of calculating damages for securities
      still held as of that date under Section 11 (e). This "value" is measured by the closing
      price on June 24, 2016, which is the date the complaint was filed .


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             A.     Valeant's March 2015 Secondary Stock Offering

          For each share of Valeant common stock purchased or acquired pursuant to the
      Company's March 2015 Offering Materials, and

                   (a) Sold prior to September 28, 2015, the Securities Act Recognized
             Loss Amount per share is zero.

                    (b)    Sold on or after September 2 8, 2015 , and prior to the close of
             trading on June 24, 2016, the Securities Act Recognized Loss Amount per share
             is equal to the lesser of:
                           (i)    the purchase/acquisition price per share (not to exceed
                    $199.00, the issue price of the March Offering) multiplied by the percent
                    inflation at the time of purchase (see Table A) less the sales price
                    multiplied by the percent inflation at the time of sale (see Table A); and

                           (ii) the purchase/acquisition price per share (not to exceed
                    $199.00, the issue price of the March Offering) less the sales price per
                    share.

                    (c)   Retained as of the close of trading on June 24, 2016, or, sold on or
             after June 25, 2016, the Recognized Loss Amount for each share shall be the
             lesser of:

                           (i)    the purchase/acquisition price per share (not to exceed
                    $199 .00, the issue price of the March Offering) multiplied by the percent
                    inflation at the time of purchase (see Table A); and

                           (ii)   $178 .73 per share (equal to $199.00 less $20.27).

              Class Members with Section 11 Claims in connection with their purchases or
       acquisitions ofValeant common stock pursuant to the March 2015 Offering Materials
       will receive either Recognized Loss Amounts under their Section 11 Claims or their
       Section 1O(b) Claims in connection with those purchases, whichever results in the
       larger Recognized Loss Amount, but not both.

                                  ADDITIONAL PROVISIONS

             If a Class Member held Valeant Securities at the beginning of the Class Period
       or made multiple purchases, acquisitions or sales ofValeant Securities during or after
       the Class Period, the starting point for calculating a claimant's Recognized Loss is to
       match the claimant' s holdings, purchases and acquisitions to their sales using the

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      FIFO (i.e., first-in-first-out) method. Under the FIFO method, Valeant Securities sold
      during the Class Period will be matched, in chronological order, first against the
      respective securities held at the beginning of the Class Period. The remaining sales of
      Valeant Securities during the Class Period will then be matched, in chronological
      order against the respective security purchased or acquired during the Class Period.

               Purchases or acquisitions and sales of Valeant Securities shall be deemed to
      have occurred on the "contract" or "trade" date as opposed to the "settlement" or
      "payment" date. The receipt or grant by gift, inheritance or operation of law of
      Valeant Securities during the Class Period shall not be deemed a purchase, acquisition
      or sale of Valeant Securities for the calculation of Recognized Loss, unless (i) the
      donor or decedent purchased or otherwise acquired such Valeant Securities during the
      Class Period; (ii) no Proof of Claim was submitted by or on behalf of the donor, on
      behalf of the decedent, or by anyone else with respect to such Vale ant Securities; and
      (iii) it is specifically so provided in the instrument of gift or assignment.

            With respect to all of a Claimant's transactions in Valeant Securities during the
      Class Period, the Claims Administrator will determine if each Claimant had a "market
      gain" or "market loss." If a Claimant had an overall market gain, the value of the
      Claimant's "Recognized Claim" shall be zero and such Claimants shall be bound by
      the Settlement. If the Claimant had an overall market loss, the value of the Claimant's
      Recognized Claim shall be the lesser of the (a) overall market loss; and (b) the Overall
      Recognized Loss Amounts as calculated above.

             An Authorized Claimant's Recognized Claim shall be the amount used to
      calculate the Authorized Claimant's pro rata share of the Net Settlement Fund. If the
      sum total of Recognized Claims of all Authorized Claimants who are entitled to
      receive payment out of the Net Settlement Fund is greater than the Net Settlement
      Fund, each Authorized Claimant shall receive his, her, or its pro rata share of the Net
      Settlement Fund. The pro rata share shall be the Authorized Claimant' s Recognized
      Claim divided by the total of the Recognized Claim of all Authorized Claimants,
      multiplied by the total amount in the Net Settlement Fund. Given the costs of
      distribution, the Net Settlement Fund will be allocated among all Authorized
      Claimants whose distribution amount is $10.00 or greater.

             Distributions will be made to Authorized Claimants after all claims have been
      processed, after the Court has finally approved the Settlement, and after any appeals
      are resolved. If there is any balance remaining in the Net Settlement Fund after a
      reasonable amount oftime from the initial date of distribution of the Net Settlement
      Fund (whether by reason of tax refunds, uncashed checks, or otherwise), the Claims
      Administrator shall, if feasible, reallocate such balance among Authorized Claimants

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      in an equitable and economic fashion. These redistributions shall be repeated until the
      balance remaining in the Net Settlement Fund is no longer economically feasible to
      distribute to Class Members. Thereafter, any balance that still remains in the Net
      Settlement Fund shall be donated to an appropriate non-profit charitable
      organization(s) unaffiliated with any party or their counsel serving the public interest.

            Please contact the Claims Administrator or Lead Counsel if you disagree with
      any determinations made by the Claims Administrator regarding your Proof of Claim
      and Release. If you are dissatisfied with the determinations, you may ask the Court,
      which retains jurisdiction over all Class Members and the claims administration
      process, to decide the issue by submitting a written request.

            The Court has reserved jurisdiction to allow, disallow, or adjust the claim of
      any Class Member on equitable grounds.

              Payment pursuant to the Plan of Allocation set forth above shall be conclusive
      against all Authorized Claimants. No Person shall have any claim against Lead
      Plaintiff, Lead Counsel, any Claims Administrator, any other Person designated by
      Lead Plaintiff's counsel, or any of the Released Persons, based on the distributions
      made substantially in accordance with the Stipulation and the Settlement contained
      therein, the Plan of Allocation, or further orders of the Court. All Class Members who
      fail to complete and submit a valid and timely Proof of Claim and Release shall be
      barred from participating in distributions from the Net Settlement Fund (unless
      otherwise ordered by the Court), but otherwise shall be bound by all of the terms of
      the Settlement, including the terms of any judgment entered and the releases given.




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                                    TABLE-A
                          Valeant Common Stock Inflation
                                                    Inflation as
                             Date Range              Percent of
                                                   Purchase Price
                        1/4/2013      3/27/2013       56.98%
                      3/28/2013       6/27/2013       58.43%
                      6/28/2013       9/29/2013       59.92%
                      9/30/2013       12/30/2013      62.02%
                      12/31/2013      3/30/2014       64.83%
                      3/31/2014       6/29/2014       67.40%
                      6/30/2014       9/29/2014       70.18%
                      9/30/2014       12/30/2014      72.98%
                      12/31/2014      3/30/2015       82.64%
                      3/31/2015       6/29/2015       87.77%
                      6/30/2015       9/27/2015       91.49%
                      9/28/2015       9/28/2015       90.29%
                      9/29/2015        10/4/2015      89.71%
                       10/5/2015      10/14/2015      88.50%
                      10/15/2015      10/18/2015      87.64%
                      10/19/2015      10/19/2015      86.57%
                      10/20/2015      10/20/2015      85.36%
                      10/21/2015      10/21/2015      82.04%
                      10/22/2015      10/25/2015      80.37%
                      10/26/2015      10/28/2015      79.16%
                      10/29/2015      10/29/2015      78.05%
                      10/30/2015       11/3/2015      74.19%
                       11/4/2015       11/4/2015      72.69%
                      11/5/2015       2/18/2016       70.76%
                      2/19/2016       2/21/2016       67.76%
                      2/22/2016       2/28/2016       63.67%
                      2/29/2016       3/14/2016       56.63%
                      3/15/2016        6/6/2016       12.85%
                         On and after 6/7/2016        0.00%




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                                                        TABLE-B
                                              Inflation Per $100 Par Value

       Date Range
                           AAA       AAB       AAC       EAA      EAC      KAA       KAD       KAE       XAM      XAQ       XAS
Start Date    End Date     Note      Note      Note      Note     Note     Note      Note      Note      Note     Note      Note
  1/4/2013   3/27/2013                                                     $2.29                          $1.93    $2.87     $3.08
3/28/2013    6/27/2013                                                     $3.24                          $2.55    $3.79     $3.74
6/28/2013    9/29/2013                                   $4.81     $4.77   $4.22                          $3.19    $4.73     $4.42
9/30/2013    11/14/2013                                  $6.04     $S.99   $5.S9                          $4.08    $6.05     $S.38
ll/15/2013   12/30/2013                                  $6.04     $S.99   $5 .59    $7.16                $4.08    $6.05     $5.38
12/31/2013   3/30/2014                                   $7.69     $7.61    $7.43    $8.91                $S.28    $7 .82    $6.66
3/31/2014    6/'29/2014                                  $9.21     $9.10    $9.11    $10.51              $6.37     $9.44     $7.83
6/30/2014    9/'29/2014                                  $10.84   $10.70   $10.93    $12.24              $7.55    $1 l.19    $9.09
9/30/2014    12/30/2014                                  $12.49   $12.32   $12.76    $13.99               $8.74   $12.9S    $10.37
12/31/2014   1/14/2015                                   $22.88   $22.53   $22.83    $25.84              $19.59   $21.40    $16.85
 1/15/2015   3/12/2015                                   $22.88   $22.53   $22.83    $25.84    $28.91    $19.59   $21.40    $16.8S
3/13/2015    3/30/2015     $23.36    $28.97    $30.08    $22.88   $22.53   $22.83    $25.84    $28.91    $19.59   $21.40    $16.85
3/31/2015    6/29/2015     $28.15    $34.42    $36.44    $27.44   $27.01   $27.42    $30.94    $34.41    $23.98   $25.41    $19.87
6/30/2015    9/27/2015     $30.53    $37.10    $39.32    $29.63   $29.16   $29.85    $33.26    $37.12    $25.56   $27.75    $21.56
9/28/2015    9/28/2015     $29.52    $34.71    $36.88    $28.02   $27.51   $29.85    $30.40    $37.12    $24.54   $27.75    $21.56
9/29/2015    10/4/2015     $29.52    $34.71    $36.88    $28.02   $27.51   $28 .88   $30.40    $33.67    $24.54   $26.32    $20.92
 10/S/2015   10/14/2015    $28.35    $32.90    $34.92    $28.02   $27.51   $27.96    $30.40    $31.82    $24.54   $26.32    $20.92
10/15/2015   10/19/2015    $27.25    $31.61    $33 .51   $26.76   $26.23   $27.05    $29.28    $30.35    $24.54   $25.44    $19.75
10/20/2015   10/20/2015    $27.25    $30.72    $33.51    $26.76   $26.23   $26.35    $29.28    $30.35    $24.54   $25.44    $19.75
10/21/2015   10/21/2015    $21 .81   $25.13    $28.10    $19.97   $19.37   $21.78    $23 .07   $23 .82   $18.25   $18.87    $12.59
10/22/2015   10/25/2015    $21.81    $23.30    $28.10    $19.97   $19.37   $18.16    $21.43    $23.82    $16.73   $16.08     $9.91
10/26/2015   10/28/2015    $18.61    $21.66    $26.06    $19.97   $19.37   $16.54    $19.60    $21.07    $16.73   $12.20     $8.22
10/29/2015   10/29/2015    $18.61    $21.66    $23.54    $19.97   $19.37   $16.54    $17.81    $21.07    $16.73   $12.20     $8.22
10/30/2015   11/3/2015     $17.00    $21.66    $23.54    $18.01   $17.45   $15.11    $17.81    $21 .07   $16.73   $9.50      $5.61
 11/4/2015   11/4/2015     $17.00    $19.41    $23.54    $18.01   $17.45   $15.11    $17.81    $21.07    $16.73   $9.50      $5.61
 11/5/2015   2/20/2016     $16.11    $19.41    $23.54    $17.12   $16.57   $14.18    $16.66    $19.87    $15.60   $8.18      $3.57
2/22/2016    2/28/2016     $13.31    $16.84    $16.89    $17.12   $16.57   $14.18    $13.18    $16.62    $13.35   $8.18      $3.57
2/29/2016    3/14/2016      $9.62    $10.14    $10.87    $11.00   $10.49   $10.11    $1o.48     $9.79     $8.75   $5.25      $3.57
3/15/2016     thereafter    $0.00     $0.00     $0.00    $0.00     $0.00    $0.00     $0.00     $0.00     $0.00   $0.00      $0.00




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                                                TABLE-C
                                 Valeant Securities Average Closing Prices
                                     June 7, 2016 - September 2, 2016

            Commor     AAA     AAB      AAC     EAA      EAC      KAA      KAD       KAE       XAM       XAQ      XAS
    Date     Stock     Note     Note     Note   Note     Note     Note     Note      Note      Note      Note     Note
 6nl2016    $24.64    $87.25   $82.63   $82.00 $90.25   $96.75   $88.00   $84.00    $82.06    $91.00    $87.50   $86.56
 6/8/2016   $24.28    $87.53   $82.81   $82.25 $90.26   $97.06   $88.38   $84.00    $82.16    $91.13    $87.75   $86.66
 6/9/2016   $24.68    $87.75   $83.21   $82.65 $90.59   $97.38   $88.52   $84.00    $82.44    $91.13    $87.80   $87.27
6/10/2016   $24.55    $87.38   $82.82   $82.48 $90.57   $97.39   $88.21   $83.75    $81.99    $91.13    $87.56   $87.27
6/13/2016   $24.39    $87.32   $82.70   $82.22 $90.50   $97.41   $88.17   $83.75    $81.94    $91.17    $87.38   $86.96
6/14/2016   $24.35    $87.23   $82.67   $82.41 $90.38   $97.55   $88.18   $83.57    $81.99    $91.13    $87.36   $86.91
6/15/2016   $24.25    $87.20   $82.65   $82.37 $90.39   $97.65   $88.15   $83.51    $82.07    $91.15    $87.30   $86.91
6/16/2016   $24.02    $87.17   $82.60   $82.17 $90.26   $97.69   $88.17   $83.43    $81.84    $90.92    $87.30   $86.80
6/17/2016   $23.80    $87.15   $82.60   $82.09 $90.26   $97.67   $88.11   $83 .43   $81 .84   $90.92    $87.30   $86.72
6/20/2016   $23.67    $87.16   $82.54   $82.03 $90.25   $97.70   $88.11   $83.44    $81.86    $90.92    $87.30   $86.75
6/21/2016   $23.49    $87.14   $82.43   $81.96 $90.27   $97.68   $88.12   $83 .20   $81.86    $90.85    $87.31   $86.78
6/22/2016   $23.34    $87.13   $82.38   $81.88 $90.24   $97.65   $88.13   $83 .23   $81.82    $90.81    $87.28   $86.80
6/23/2016   $23.25    $87.16   $82.32   $81.84 $90.14   $97.62   $88.10   $83.23    $81.76    $90.78    $87.28   $86.80
6/24/2016   $23 .04   $87.04   $82.22   $81.73 $90.14   $97.56   $88.01   $83 .14   $81.76    $90.57    $87.28   $86.80
6/27/2016   $22.75    $86.87   $82.01   $81.55 $89.94   $97.46   $87.81   $82.85    $81.45    $90.51    $87.28   $86.80
6/28/2016   $22.58    $86.75   $81.87   $81.40 $89.76   $97.36   $87.67   $82.70    $81.29    $90.57    $87.28   $86.59
6/29/2016   $22.44    $86.69   $81.78   $81.38 $89.67   $97.31   $87.60   $82.68    $81.21    $90.39    $87.12   $86.54
6/30/2016   $22.32    $86.63   $81.72   $81.34 $89.60   $97.27   $87.51   $82.67    $81.15    $90.27    $87.00   $86.50
 7/1/2016   $22.22    $86.62   $81.72   $81.32 $89.60   $97.25   $87.57   $82.67    $81.15    $90.25    $86.95   $86.50
 7/S/2016   $22.10    $86.64   $81.73   $81.32 $89.60   $97.25   $87.59   $82.72    $81.12    $90.23    $86.95   $86.47
 7/6/2016   $22.15    $86.78   $81.81   $81.38 $89.62   $97.28   $87.72   $82.85    $81.16    $90.31    $86.92   $86.54
 7/7/2016   $22.21    $86.90   $81.89   $81.46 $89.70   $97.33   $87.85   $82.96    $81.23    $90.45    $86.92   $86.63
 7/8/2016   $22.26    $87.06   $82.02   $81.58 $89.82   $97.42   $88.03   $83.11    $81.34    $90.63    $87.09   $86.80
7/11/2016   $22.29    $87.23   $82.19   $81.72 $89.99   $91.50   $88.21   $83.32    $81.50    $90.86    $87.30   $87.06
7/12/2016   $22.33    $87.40   $82.34   $81.85 $90.18   $97.59   $88.37   $83.53    $81.64    $91.10    $87.53   $87.29
7/13/2016   $22.30    $87.50   $82.41   $81.90 $90.28   $97.61   $88.49   $83.69    $81.69    $91.30    $87.68   $87.43
7/14/2016   $22.33    $87.60   $82.48   $81.97 $90.39   $97.63   $88.60   $83.81    $81.75    $91.30    $87.80   $87.55
7/15/2016   $22.35    $87.69   $82.53   $82.01 $90.47   $97.63   $88.67   $83.88    $81.77    $9 1.39   $87.88   $87.63
7/18/2016   $22.39    $87.76   $82.56   $82.03 $90.53   $97.63   $88.74   $83.93    $81.80    $91.46    $87.93   $87.63
7/19/2016   $22.42    $87.81   $82.57   $82.07 $90.58   $97.63   $88.79   $83.93    $81.80    $9 1.53   $87.93   $87.70
7/20/2016   $22.49    $87.86   $82.61   $82.11 $90.64   $97.65   $88.86   $84.00    $81.86    $91.61    $87.93   $87.78
7/21/2016   $22.56    $87.92   $82.67   $82.15 $90.67   $97.67   $88.93   $84.06    $81 .92   $91.69    $87.93   $87.88
7/22/2016   $22.56    $87.96   $82.72   $82.18 $90.72   $97.68   $88.97   $84.06    $81.92    $91.76    $87.93   $87.98
7/25/2016   $22.57    $87.99   $82.74   $82.20 $90.76   $97.67   $89.01   $84.13    $81.92    $9 1.76   $87.98   $88.06
7/26/2016   $22.59    $88.00   $82.74   $82.20 $90.79   $97.67   $89.04   $84.13    $81.91    $91.79    $87.98   $88.06
7/27/2016   $22.61    $88.03   $82.75   $82.22 $90.81   $97.69   $89.07   $84.17    $81.92    $91.84    $88.02   $88.13


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            Common     AAA     AAB        AAC      EAA     EAC        KAA      KAD       KAE    XAM XAQ         XAS
    Date     Stock     Note     Note      Note     Note    Note       Note     Note      Note    Note   Note    Note
7/28/2016   $22.62    $88.06   $82.77    $82.26   $90.86  $97.70     $89.10   $84.20    $81.94 $91.88 $88.06    $88.20
7/29/2016   $22.62    $88.10   $82.79    $82.28   $90.92  $97.71     $89.13   $84.26    $81 .96 $91.95 $88.06   $88.20
 8/1/2016   $22.57    $88.12 $82.80      $82.29   $90.96  $97.72     $89.17   $84.26    $81.95 $91.95 $88.12    $88.28
 8/2/2016   $22.54    $88.14   $82.78    $82.28   $90.96  $97.73     $89.18   $84.26    $81.94 $91.97 $88.14    $88.29
 8/3/2016   $22.53    $88.15   $82.78    $82.27   $90.93  $97.74     $89.17   $84.26    $81.93 $91.99 $88.18    $88.29
 8/4/2016   $22.53    $88.15   $82.77    $82.27   $90.93  $97.75     $89.18   $84.26    $81.93 $92.01 $88.21    $88.29
 8/5/2016   $22.51    $88.15 $82.77      $82.26   $90.92  $97.77     $89.18   $84.26    $81.93 $92.01 $88.21    $88.30
 8/8/2016   $22.51    $88.14 $82.77      $82.26   $90.91  $97.78     $89.20   $84.27    $81 .93 $92.02 $88.21   $88.31
 8/9/2016   $22.64    $88.25 $82.87      $82.37   $91.01  $97.84     $89.29   $84.41    $82.05 $92.14 $88.37    $88.46
8/10/2016   $22.74    $88.37   $82.99    $82.49   $91.14  $97.91     $89.41   $84.56    $82.19 $92.26 $88.55    $88.62
8/11/2016   $22.78    $88.45   $83.09    $82.56   $91.24  $97.96     $89.48   $84.66    $82.26 $92.33 $88.68    $88.75
8/12/2016   $22.82    $88.52   $83.16    $82.63   $91.33  $98.00     $89.48   $84.75    $82.26 $92.40 $88.68    $88.85
8/15/2016   $22.90    $88.60   $83.24    $82.71   $91.42  $98.03     $89.57   $84.83    $82.35 $92.48 $88.78    $88.96
8/16/2016   $22.97    $88.67   $83.32    $82.79   $91 .50 $98.06     $89.65   $84.83    $82.35 $92.55 $88.91    $89.07
8/17/2016   $23.11    $88.76   $83.41    $82.88   $91.62  $98.10     $89.76   $84.96    $82.47 $92.64 $89.06    $89.22
8/18/2016   $23.23    $88.83   $83.49  $82.97     $91.73  $98.13     $89.84   $85 .08   $82.56 $92.75 $89.19    $89.35
8/19/2016   $23.33    $88.90   $83.56  $83.06     $91.83  $98.16     $89.84   $85.19    $82.56 $92.84 $89.19    $89.46
8/22/2016   $23.48    $88.98   $83 .64 $83.15     $91.95  $98.20     $89.94   $85.30    $82.67 $92.84 $89.32    $89.46
8/23/2016   $23.62    $89.06   $83 .73 $83.24     $92.06  $98.25     $89.94   $85.43    $82.77 $92.94 $89.49    $89.59
8/24/2016   $23.74    $89.15   $83.82 $83.34      $92.18  $98.31     $90.04   $85.54    $82.88 $93.05 $89.49    $89.73
8/25/2016   $23 .87   $89.24   $83 .91 $83.42     $92.29  $98.35     $90.13   $85.66    $82.97 $93.16 $89.63    $89.73
8/26/2016   $23.99    $89.33   $83.98 $83.50      $92.29 $98.35      $90.22   $85.77    $82.97 $93. 16 $89.63   $89.73
8/29/2016   $24.10    $89.41   $84.06 $83.50      $92.29 $98.40      $90.22   $85.77    $82.97 $93.27 $89.79    $89.73
8/30/2016   $24.20    $89.50   $84.13 $83.59      $92.40 $98.44      $90.27   $85.88    $82.97 $93.27 $89.93    $89.85
8/31/2016   $24.28    $89.58   $84.20 $83.66      $92.5 1 $98.48     $90.36   $85.97    $83 .07 $93.27 $90.07   $89.85
9/1 /2016   $24.36    $89.66   $84.26 $83.72      $92.6 1 $98.51     $90.36   $85 .97   $83 .15 $93.37 $90.07   $89.85
9/2/2016    $24.43    $89.74   $84.32 $83.72      $92.70 $98.55      $90.45   $85.97    $83.15 $93.37 $90.19    $89.85




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             DO I NEED TO CONTACT LEAD COUNSEL IN ORDER TO
          PARTICIPATE IN DISTRIBUTION OF THE SETTLEMENT FUND?

             No. If you have received this Notice and timely submit your Proof of Claim
       and Release to the designated address, you need not contact Lead Counsel. If your
       address changes, please contact the Claims Administrator at:

                                  Valeant Securities Settlement
                                     c/o Gilardi & Co. LLC
                                         P.O. Box 43337
                                   Providence, RI 02940-3337
                                  Telephone: 1-866-524-0721
                               www.ValeantSecuritiesSettlement.com

              THERE WILL BE NO PAYMENTS IF THE STIPULATION IS
                               TERMINATED

               The Stipulation may be terminated under several circumstances outlined in it.
       If the Stipulation is terminated, the Litigation will proceed as if the Stipulation had not
       been entered into.

                     WHAT ARE THE REASONS FOR SETTLEMENT?

              The Settlement was reached after contested motion practice directed to the
       sufficiency of Lead Plaintiff's claims. The parties also completed certain document
       discovery. Nevertheless, the Court has not reached any final decisions in connection
       with Lead Plaintiff's claims against Defendants. Instead, Lead Plaintiff and
       Defendants, along with the Former Defendants, have agreed to this Settlement, which
       was reached with the substantial assistance of a highly respected mediator. In
       reaching the Settlement, the parties have avoided the cost, delay and uncertainty of
       further litigation.

              As in any litigation, Lead Plaintiff and the Class would face an uncertain
       outcome if they did not agree to the Settlement. If Lead Plaintiff succeeded at trial,
       Defendants would likely file appeals that would postpone final resolution of the case.
       Continuation of the Litigation against Defendants could result in a judgment greater
       than this Settlement. Conversely, continuing the case could result in no recovery at all
       or a recovery that is less than the amount of the Settlement.




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              Lead Plaintiff and Lead Counsel believe that this Settlement is fair and
       reasonable to the Members of the Class. They have reached this conclusion for
       several reasons. Specifically, if the Settlement is approved, the Class will receive a
       certain and immediate monetary recovery. Additionally, Lead Counsel believes that
       the significant and immediate benefits of the Settlement, when weighed against the
       significant risk, delay and uncertainty of continued litigation, are a very favorable
       result for the Class.

              Defendants and Former Defendants are entering into this Settlement because it
       would be beneficial to avoid the burden, inconvenience, and expense associated with
       continuing the Litigation, and the uncertainty and risks inherent in any litigation.
       Defendants and Former Defendants have determined that it is desirable and beneficial
       to them that the Litigation be settled in the manner and upon the terms and conditions
       set forth in the Stipulation.

                             WHO REPRESENTS THE CLASS?

       The following attorneys are counsel for the Class:

                                     Theodore J. Pintar
                         ROBBINS GELLER RUDMAN & DOWD LLP
                              655 West Broadway, Suite 1900
                                  San Diego, CA 92101
                                 Telephone: 800/449-4900

              If you have any questions about the Litigation, or the Settlement, you are
       entitled to consult with Lead Counsel by contacting counsel at the phone number
       listed above.

            You may obtain a copy of the Stipulation by contacting the Claims
       Administrator at:

                                 Valeant Securities Settlement
                                    c/o Gilardi & Co. LLC
                                        P.O. Box 43337
                                  Providence, RI 02940-3337
                                 Telephone: 1-866-824-0721
                              www .ValeantSecuritiesSettlement.com




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              HOW WILL THE LEAD PLAINTIFF'S LAWYERS BE PAID?

              Lead Counsel will file a motion for an award of attorneys ' fees and expenses
       that will be considered at the Final Approval Hearing. Lead Counsel will apply for an
       attorneys' fee award for Plaintiffs' Counsel in the amount of up to thirteen percent of
       the Settlement Amount, plus payment of Plaintiffs' Counsel's charges and expenses
       incurred in connection with this Litigation in an amount not to exceed $3 million,
       including any award(s) to Plaintiffs of no more than $175,000 in the aggregate
       pursuant to 15 U.S.C. §78u-4(a)(4) in connection with their representation of the
       Class. Such sums as may be approved by the Court will be paid from the Settlement
       Fund. Class Members are not personally liable for any such fees or expenses.

             The attorneys' fees and charges and expenses requested will be the only
       payment to Plaintiffs ' Counsel for their efforts in achieving this outstanding
       Settlement and for their risk in undertaking this representation on a wholly contingent
       basis. The fees requested will compensate Plaintiffs' Counsel for their work in
       achieving the Settlement. The Court will decide what constitutes a reasonable fee
       award and may award less than the amount requested by Lead Counsel.

              HOW DO I EXCLUDE MYSELF FROM THE SETTLEMENT?

             You may request to be excluded from the Class. To do so, you must mail a
       written request stating that you wish to be excluded from the Class to:

                    Valeant Securities Settlement
                    Claims Administrator
                    c/o Gilardi & Co. LLC
                    EXCLUSIONS
                    3301 Kerner Blvd.
                    San Rafael, CA 94901

             The request for exclusion must state: (1) your name, address, and telephone
       number; (2) all purchases, acquisitions and sales of Valeant Securities made from
       January 4, 2013 through March 15, 2016, inclusive, including the dates and prices of
       each purchase, acquisition or sale, and the amount of Valeant Securities purchased,
       otherwise acquired or sold; and (3) that you wish to be excluded from the Class.
       YOUR EXCLUSION REQUEST MUST BE POSTMARKED ON OR BEFORE
       MAY 6, 2020. If you submit a valid and timely request for exclusion, you shall have
       no rights under the Settlement, shall not share in the distribution of the Net
       Settlement Fund, and shall not be bound by the Stipulation or the Judgment.



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            If you exclude yourself from the Class, you should understand that Defendants
      and Former Defendants and the other Released Persons will have the right to assert
      any and all defenses they may have to any claims that you may seek to assert,
      including, without limitation, the defense that any such claims are untimely under the
      applicable statutes of limitations or statutes of repose.

             Excluding yourself from the Class is the only option that allows you to be part
      of any other current or future lawsuit against Defendants and Former Defendants or
      any of the other Released Persons concerning the Released Claims. Please note,
      however, that if you decide to exclude yourself from the Class, you may be time-
      barred from asserting the claims covered by the Litigation by applicable statutes of
      limitations or statutes of repose.

            CAN I OBJECT TO THE SETTLEMENT, THE REQUESTED
         ATTORNEYS' FEES, THE REQUESTED PAYMENT OF EXPENSES
                    AND/OR THE PLAN OF ALLOCATION?

             Yes. If you are a Class Member and do not exclude yourself from the Class,
      you may object to the terms of the Settlement. Whether or not you object to the terms
      of the Settlement, you may also object to the requested attorneys' fees, charges and
      expenses, Plaintiffs' request for awards for representing the Class and/or the Plan of
      Allocation. In order for any objection to be considered, you must file a written
      statement, accompanied by proof of Class membership, with the Court and send a
      copy to Lead Counsel and Valeant' s Counsel, at the addresses listed below by
      May 6, 2020. The objection must state whether it applies only to the objector, to a
      specific subset of the Class, or to the entire Class. The objection must also state
      with specificity the grounds for the objection. The Court's address is Clarkson S.
      Fisher Building & U.S. Courthouse, 402 East State Street, Trenton, New Jersey
      08608; Lead Counsel's address is Robbins Geller Rudman & Dowd LLP, 655
      West Broadway, Suite 1900, San Diego, CA 92101, c/o Theodore J. Pintar;
      Valeant's Counsel's address is Simpson Thacher & Bartlett LLP, 425 Lexington
      Avenue, New York, NY 10017, c/o Craig S. Waldman. Attendance at the Final
      Approval Hearing is not necessary; however, persons wishing to be heard orally
      at the Final Approval Hearing are required to indicate in their written objection
      their intention to appear at the hearing and identify any witnesses they may call to
      testify and exhibits, if any, they intend to introduce into evidence.




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              WHAT ARE MY RIGHTS AND OBLIGATIONS UNDER THE
                              SETTLEMENT?

            If you are a Class Member and you do not exclude yourself from the Class, you
      may receive the benefit of, and you will be bound by, the terms of the Settlement
      described in this Notice, upon approval by the Court.

                              HOW CAN I GET A PAYMENT?

            In order to qualify for a payment, you must timely complete and return the
      Proof of Claim and Release that accompanies this Notice. A Proof of Claim and
      Release is enclosed with this Notice and also may be downloaded at
      www.ValeantSecuritiesSettlement.com. Read the instructions carefully; fill out the
      Proof of Claim and Release; sign it; and mail or submit it online so that it is
      postmarked (if mailed) or received (if submitted online) no later than
      May 6, 2020. The Proof of Claim and Release may be submitted online at
      www.ValeantSecuritiesSettlement.com. If you do not submit a timely Proof of
      Claim and Release with all of the required information, you will not receive a
      payment from the Settlement Fund; however, unless you expressly exclude
      yourself from the Class as described above, you will still be bound in all other
      respects by the Settlement, the Judgment, and the release contained in them.

            WHAT CLAIMS WILL BE RELEASED BY THE SETTLEMENT?

              If the Settlement is approved by the Court, the Court will enter a Judgment. If
       the Judgment becomes final pursuant to the terms of the Stipulation, all Class
       Members shall be deemed to have, and by operation of the Final Judgment shall have,
       fully, finally, and forever released, relinquished, and discharged any and all of the
       Released Persons from all Released Claims.

             •      "Released Claims" means any and all rights, liabilities, suits, debts,
                    obligations, demands, damages, losses, judgment matters, issues, claims
                    (including Unknown Claims), and causes of action of every nature and
                    description whatsoever, in law, equity, or otherwise, whether accrued or
                    unaccrued, fixed or contingent, liquidated or unliquidated, whether
                    arising under federal, state, local, statutory, common law, foreign law, or
                    any other law, rule, or regulation, and whether class and/or individual in
                    nature, concerning, based on, arising out of, or in connection with both:
                    (i) the purchase or other acquisition of Valeant Securities by Lead
                    Plaintiff or any other Class Member between January 4, 2013 and
                    March 15, 2016, inclusive; and (ii)the allegations, transactions, acts,

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                 facts, matters, occurrences, disclosures, statements, filings,
                 representations, omissions, or events that were or could have been
                 alleged or asserted in the Litigation. Released Claims do not include
                 claims to enforce the Settlement, shareholder derivative claims on behalf
                 ofValeant, governmental agency actions against the Released Persons,
                 claims asserted in the RICO Class Action, the Canadian Actions, or the
                 claims that are or could be asserted in this Litigation against PwC.

            •    "Related Parties" means each Defendant and Former Defendants'
                 respective present and former parents, subsidiaries, divisions, controlling
                 persons, associates, entities and affiliates and each and all of their
                 respective present and former employees, members, partners, principals,
                 officers, directors, controlling shareholders, agents, attorneys, advisors
                 (including financial or investment advisors), consultants, underwriters,
                 investment bankers, commercial bankers, general or limited partners or
                 partnerships, limited liability companies, members, joint ventures and
                 insurers and reinsurers of each of them; as well as the predecessors,
                 successors, estates, immediate family members, spouses, heirs,
                 executors, trusts, trustees, administrators, agents, legal or personal
                 representatives, assigns, and assignees of each of them, in their capacity
                 as such. Related Parties does not include PwC.

            •    "Released Persons" means each and all of the Defendants, Former
                 Defendants and their Related Parties. Released Persons does not include
                 PwC.

            •    "Unknown Claims" means: (a) any and all Released Claims which the
                 Releasing Plaintiff Parties do not know or suspect to exist in his, her, or
                 its favor at the time of the release of the Released Persons, which, if
                 known by him, her, or it, might have affected his, her, or its settlement
                 with and release of the Released Persons, or might have affected his, her,
                 or its decision(s) with respect to the Settlement, including, but not
                 limited to, whether or not to object to this Settlement or seek exclusion
                 from the Class; and (b) any and all Released Defendants' Claims that the
                 Released Persons do not know or suspect to exist in his, her, or its favor
                 at the time of the release of the Plaintiffs, the Class and Plaintiffs'
                 Counsel, which, if known by him, her, or it, might have affected his, her,
                 or its settlement and release of Plaintiffs, the Class and Plaintiffs'
                 Counsel. With respect to (a) any and all Released Claims against the
                 Released Persons, and (b) any and all Released Defendants' Claims


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                 against Plaintiffs, the Class and Plaintiffs' Counsel, the Settling Parties
                 stipulate and agree that, upon the Effective Date, the Settling Parties
                 shall expressly waive and each Releasing Plaintiff Party and Released
                 Person shall be deemed to have, and by operation of the Judgment shall
                 have expressly waived, the provisions, rights, and benefits of California
                 Civil Code §1542, which provides:

                       A general release does not extend to claims that the
                       creditor or releasing party does not know or suspect
                       to exist in his or her favor at the time of executing
                       the release and that, if known by him or her, would
                       have materially affected his or her settlement with
                       the debtor or released party.

                 The Settling Parties shall expressly waive and each Releasing Plaintiff
                 Party and Released Person shall be deemed to have, and by operation of
                 the Judgment shall have, expressly waived any and all provisions, rights,
                 and benefits conferred by any law of any state or territory of the United
                 States, or principle of common law, which is similar, comparable, or
                 equivalent to California Civil Code § 1542. The Releasing Plaintiff
                 Parties and Released Persons acknowledge that they may hereafter
                 discover facts in addition to or different from those which he, she, it or
                 their counsel now knows or believes to be true with respect to the subject
                 matter of the Released Claims or Released Defendants' Claims, but:
                 (a) the Releasing Plaintiff Parties shall expressly fully, finally, and
                 forever waive, compromise, settle, discharge, extinguish, and release,
                 and each Releasing Plaintiff Party shall be deemed to have waived,
                 compromised, settled, discharged, extinguished, and released, and upon
                 the Effective Date, and by operation of the Judgment shall have waived,
                 compromised, settled, discharged, extinguished, and released, fully,
                 finally, and forever, any and all Released Claims against the Released
                 Persons, known or unknown, suspected or unsuspected, contingent or
                 non-contingent, whether or not concealed or hidden, which now exist, or
                 heretofore have existed, upon any theory of law or equity now existing
                 or coming into existence in the future, including, but not limited to,
                 conduct which is negligent, intentional, with or without malice, or a
                 breach of any duty, law or rule, without regard to the subsequent
                 discovery or existence of such different or additional facts, legal theories,
                 or authorities; and (b) the Released Persons shall expressly fully, finally,
                 and forever waive, compromise, settle, discharge, extinguish, and


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                   release, and upon the Effective Date, and by operation of the Judgment
                   shall have waived, compromised, settled, discharged, extinguished, and
                   released, fully, finally, and forever, any and all Released Defendants'
                   Claims against the Plaintiffs, the Class and Plaintiffs' Counsel, known or
                   unknown, suspected or unsuspected, contingent or non-contingent,
                   whether or not concealed or hidden, which now exist, or heretofore have
                   existed, upon any theory of law or equity now existing or coming into
                   existence in the future, including, but not limited to, conduct which is
                   negligent, intentional, with or without malice, or a breach of any duty,
                   law or rule, without regard to the subsequent discovery or existence of
                   such different or additional facts, legal theories, or authorities. This
                   paragraph does not affect any claims for contractual or other
                   indemnification rights between or among the Defendants and Former
                   Defendants. The Settling Parties acknowledge, and the Releasing
                   Plaintiff Parties and Released Persons shall be deemed by operation of
                   the Judgment to have acknowledged, that the foregoing waiver was
                   separately bargained for and is an essential element of the Settlement of
                   which this release is a part.

                            THE FINAL APPROVAL HEARING

             The Court will hold a Final Approval Hearing on May 2 7, 2020, at 10:00
      a.m., before the Honorable Dennis M. Cavanaugh, U.SDJ. (Ret), Special Master, at the
      United States District Court for the District of New Jersey, Clarkson S.
      Fisher Building & U.S. Courthouse, 402 East State Street, Courtroom I,
      Trenton, New Jersey 08608, for the purpose of determining whether: (1) the
      Settlement as set forth in the Stipulation for $1,210,000,000.00 in cash should be
      approved by the Court as fair, reasonable and adequate; (2) the Class should be
      finally certified pursuant to Rules 23(a) and (b)(3) of the Federal Rules of
      Civil Procedure for purposes of settlement only; (3) Judgment as provided
      under the Stipulation should be entered; (4) to award Lead Counsel attorneys'
      fees and expenses out of the Settlement Fund and, if so, in what amount;
      (5) to award Plaintiffs an amount pursuant to 15 U.S.C. §78u-4(a)(4) in connection
      with their representation of the Class out of the Settlement Fund and, if so, in what
      amount; and (6) the Plan of Allocation should be approved by the Court.
      The Court may adjourn or continue the Final Approval Hearing without
      further notice to Members of the Class.

            Any Class Member may appear at the Final Approval Hearing and be heard on
      any of the foregoing matters; provided, however, that no such person shall be heard
      unless his, her, or its objection is made in writing and is filed, together with proof of
      membership in the Class and with copies of all other papers and briefs to be submitted


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       by him, her, or it to the Court at the Final Approval Hearing, with the Court no
       later than May 6, 2020, and showing proof of service on the following counsel:

             Theodore J. Pintar                   Craig S. Waldman
             ROBBINS GELLER RUDMAN                SIMPSON THACHER &
              &DOWDLLP                              BARTLETT LLP
             655 West Broadway, Suite 1900        425 Lexington Avenue
             San Diego, CA 92101                  New York, NY 10017

             Attorneys for Lead Plaintiff         Attorneys for Valeant

              Unless otherwise directed by the Court, any Class Member who does not make
       his, her or its objection in the manner provided shall be deemed to have waived all
       objections to this Settlement and shall be foreclosed from raising (in this or any other
       proceeding or on any appeal) any objection and any untimely objection shall be
       barred.

              If you hire an attorney (at your own expense) to represent you for purposes of
       objecting, your attorney must serve a notice of appearance on counsel listed above
       and file it with the Court(atthe address set out above) by no later than May6, 2020.

                                            INJUNCTION

             The Court has issued an order enjoining all Class Members from instituting,
       commencing, maintaining or prosecuting any action in any court or tribunal
       that asserts Released Claims against any Released Persons, pending final
       determination by the Court of whether the Settlement should be approved.

                   HOW DO I OBTAIN ADDITIONAL INFORMATION?

             This Notice contains only a summary of the terms of the proposed
       Settlement. The records in this Litigation may be examined and copied at any time
       during regular office hours, and subject to customary copying fees , at the Clerk of
       the United States District Court for the District of New Jersey. For a fee, all
       papers filed in this Litigation are available at www.pacer.gov. In addition, all
       of the Settlement documents, including the Stipulation, this Notice, the Proof of
       Claim and Release and proposed Judgment may be obtained by contacting the
       Claims Administrator at:




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                                   Valeant Securities Settlement
                                     c/o Gilardi & Co. LLC
                                         P.O. Box 43337
                                   Providence, RI 02940-3337
                          Email: info@ValeantSecuritiesSettlement.com
                                   Telephone: 1-866-524-0721
                            www.ValeantSecuritiesSettlement.com

             In addition, you may contact Rick Nelson, Shareholder Relations, Robbins
       Geller Rudman & Dowd LLP, 655 West Broadway, Suite 1900, San Diego, CA
       92101, 1(800)449-4900, if you have any questions about the Litigation or the
       Settlement.

                DO NOT WRITE TO OR TELEPHONE THE COURT FOR
                               INFORMATION

         SPECIAL NOTICE TO BANKS, BROKERS, AND OTHER NOMINEES

              If you hold any Valeant Securities purchased or acquired during the Class
       Period, as a nominee for a beneficial owner, then, within fourteen (14) calendar days
       after you receive this Notice, you must either: (1) send a copy of this Notice by First-
       Class Mail to all such Persons; or (2) provide a list of the names and addresses of such
       Persons to the Claims Administrator:

                                  Valeant Securities Litigation
                                     c/o Gilardi & Co. LLC
                                         P.O. Box 43337
                                   Providence, RI 02940-3337
                         E-mail: info@ValeantSecuritiesSettlement.com
                                  Telephone: 1-866-524-0721
                            www.ValeantSecuritiesSettlement.com

             If you choose to mail the Notice and Proof of Claim and Release yourself, you
       may obtain from the Claims Administrator (without cost to you) as many additional
       copies of these documents as you will need to complete the mailing.

             Regardless of whether you choose to complete the mailing yourself or elect to
       have the mailing performed for you, you may obtain reimbursement for or
       advancement of reasonable administrative costs actually incurred or expected to be
       incurred in connection with forwarding the Notice and which would not have been



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       incurred but for the obligation to forward the Notice, upon submission of appropriate
       documentation to the Claims Administrator.

       DATED:                                BY ORDER OF 1HE
          I /~3   l ~o                       UNITED STATES DISTRICT COURT
                                             DISTRICT OF NEW JERSEY




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                                   EXHIBIT A-2
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      SEEGER WEISS LLP
      CHRISTOPHER A. SEEGER
      DAVID R BUCHANAN
      55 Challenger Road, 6th Floor
      Ridgefield Park, J 07 660
      Telephone: 212/584-0700
      212/584-0799 (fax)

      Local Counsel

      ROBBINS GELLER RUDMAN
       &DOWDLLP
      JAMES E. BARZ
      FRANK A. RICHTER
      200 South Wacker Drive, 31 st Floor
      Chicago, IL 60606
      Telephone: 312/674-4674
      312/674-4676 (fax)

      Lead Counsel for Plaintiffs



                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

       In re V ALEANT                       ) Master No. 3:15-cv-07658-MAS-LHG
       PHARMACEUTICALS                      )
       INTERNATIONAL, INC.                  ) CLASS ACTION
       SECURITIES LITIGATION
                                            j Judge Michael A . Shipp
      - - - - - - -- - - - - )                Magistrate Judge Lois H. Goodman
       This Document Relates To:
                                        ) Special Master Hon. Dennis M . Cavanaugh,
                                        ) U.S.D.J. (Ret.)
       Case No. 3: 15-cv-07658-MAS-LHG. )
                                        ) PROOF OF CLAIM AND RELEASE
      ------------
                                              EXHIBIT A-2
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      I.    GENERAL INSTRUCTIONS

            1.     To recover as a member of the Class based on your claims in the action

      entitled In re Valeant Pharmaceuticals International, Inc. Securities Litigation, No.

      3: 15-cv-07658-MAS-LHG (the ''Litigation"), you must complete and, on page 20

      hereof, sign this Proof of Claim and Release. If you fail to submit a properly

      addressed (as set forth in paragraph 3 below) Proof of Claim and Release form,

      postmarked or received by the date shown below, your claim may be rejected and you

      may be precluded from any recovery from the Net Settlement Fund created in

      connection with the proposed settlement of the Litigation ( the "Settlement") .1

            2.     Submission of this Proof of Claim and Release form, however, does not

      assure that you will share in the proceeds of the Settlement.

            3.     YOUMUSTMAILORSUBMITONLINEYOURCO:MPLETEDAND

      SIGNED PROOF OF CLAIM AND RELEASE FORM, ACCOMPANIED BY

      COPIES OF THE DOCUMENfS REQUESTED HEREIN, NO LATER

      THAN       MAY     6,    2020,    TO    THE      COURT-APPOINTED            CLATh1S

      ADMINISTRATOR

      IN THIS CASE, AT THE FOLLOWING ADDRESS:

                               Valeant Securities Settlement
                                   Claims Administrator
                                  c/o Gilardi & Co. LLC
                                      P.O. Box 43337
                                Providence, RI 02940-3337
                 Online Submissions: www.ValeantSecuritiesSettlement.com
      1
         This Proof of Claim and Release incorporates by reference the definitions in the
      Stipulation of Settlement ("Stipulation"), which can be obtained at
      www.ValeantSecuritiesSettlement.com.



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      If you are NOT a member of the Class (as defined in the Notice of Pendency and

      Proposed Settlement of Class Action (the "Notice")), DO NOT submit a Proof of

      Claim and Release form.

            4.    If you are a member of the Class and you did not timely request

      exclusion from the Class, you will be bound by the terms of any judgment entered in

      the Litigation, including the releases provided therein, WHETHER OR NOT YOU

      SUBMIT A PROOF OF CLAIM AND RELEASE FORM.

      II.   CLAIMANT IDENTIFICATION

            You are a member of the Class if you purchased or otherwise acquired Valeant

      Pharmaceuticals International, Inc. ("Valeant" n/k/a Bausch Health Companies Inc.)

      common stock, stock options or debt securities between January 4, 2013 and March 15,

      2016, inclusive (''Valeant Securities"2). Excluded from the Class are Defendants and

      Fonner Defendants, present and former executive officers of Defendants and Fonner

      Defendants, and members of their immediate families, present and former directors of

      Defendants and Former Defendants, and members of their immediate families, any

      2
         "Valeant Securities" means Valeant equity securities as defined in 15 U.S.C.
      §78c(ll) and 17 C.F.R. §240.3al 1-1, and Valeant debt securities, includingValeant
      common stock; options on Valeant common stock, defined to be the purchase or
      acquisition of call options and the sale of put options; and the following Valeant
      senior notes: (1) 5.375% senior notes due 2020; (2) 5.875% senior notes due 2023;
      (3) 6.125% senior notes due 2025; (4) 5.5% senior notes due 2023; (5) 5.625% senior
      notes due 2021; (6) 6.75% senior notes due 2018; (7) 7.5% senior notes due 2021;
      (8) 6.375% senior notes due 2020; (9) 7.25% senior notes due 2022; (10) 6.75%
      senior notes due 2021; or (11) 7 .0% senior notes due 2020. Valeant Securities does
      not include securities at issue in the Canadian Actions.



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      entity in which a Defendant or current or former director of a Defendant has control

      and/or a majority ownership interest, and the legal representatives, heirs, successors or

      assigns of any such excluded party. For the avoidance of doubt, this exclusion does

      not extend to: ( 1) any investment company or pooled investment fund in which a

      Defendant or Fonner Defendant may have a direct or indirect interest, or as to which

      its affiliates may act as an advisor, but of which a Defendant or Former Defendant or

      its respective affiliates is not a majority owner or does not hold a majority beneficial

      interest; or (2) any employee benefit plan as to which a Defendant or Former

      Defendant or its affiliates acts as an investment advisor or otherwise may be a

      fiduciary; provided, however, that membership in the Class by such investment

      company, pooled investment fund or employee benefit plan is limited to transactions

      in Valeant Securities made on behalf of, or for the benefit of, persons other than

      persons that are excluded from the Class by definition. In other words, Defendants

      and Former Defendants cannot make a claim on their own behalf for their ownership

      share in any of the above entities. The Class also excludes: (1) any person or entity

      which during the Class Period purchased or otherwise acquired Valeant Securities and

      has been promised or received a payment from or on behalf of the V aleant Defendants

      related to or arising from litigation related to its Class Period transactions in Valeant

      Securities other than a payment of attorneys fees or costs to counsel for such person or

      entity; (2) any Class Member on Exhibit A to the Final Judgment that validly and



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      timely requested exclusion in accordance with the requirements set by the Court in the

      Notice of Pendency and Proposed Settlement of Class Action; and (3) anyone on

      Exhibit B to the Final Judgment who has filed an individual action and not dismissed

      their claim and sought to be included in the Class.

            Use Part I of this form entitled "Claimant Identification" to identify each

      purchaser or acquirer ofrecord ("nominee"), if different from the beneficial purchaser or

      acquirer of the securities which form the basis of this claim. THIS CLAJM MUST BE

      FILED BY TIIE ACTUAL BENEFICIAL PURCHASER(S) OR ACQUIRER(S) OR

      THE LEGAL REPRESENTATIVE OF SUCH PURCHASER(S) OR ACQUIRER(S)

      OF THE VALEANT SECURITIES UPON WIDCH THIS CLAIM IS BASED.

            All joint purchasers or acquirers must sign this claim.                Executors,

      administrators, guardians, conservators and trustees must complete and sign this claim

      on behalf of persons represented by them and their authority must accompany this

      cJaim and their titles or capacities must be stated. The Social Security (or taxpayer

      identification) number and telephone number of the beneficial owner may be used in

      verifying the claim.    Failure to provide the foregoing information could delay

      verification of your claim or result in rejection of the claim.

             If you are acting in a representative capacity on behalf of a Class Member (for

      example, as an executor, administrator, trustee, or other representative), you must

      submit evidence of your current authority to act on behalf of that Class Member. Such



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      evidence would include, for example, letters testamentary, letters of administration, or

      a copy of the trust documents.

             NOTICE REGARDING ELECTRONIC FILES: Certain claimants with large

      numbers of transactions may request to, or may be requested to, submit information

      regarding their transactions in electronic files.    All claimants MUST submit a

      manually signed paper Proof of Claim and Release form listing all their transactions

      whether or not they also submit electronic copies. If you wish to file your claim

      electronically, you must contact the Claims Administrator at edata@gilardi.com to

      obtain the required file layout. No electronic files will be considered to have been

      properly submitted unless the Claims Administrator issues to the claimant a written

      acknowledgement of receipt and acceptance of electronically submitted data.

      III.   CLAIM FORM

             Use Part TI of this fonn entitled "Schedule of Transactions in Valeant Common

      Stock," Part III of this form entitled "Schedule of Transactions in Valeant Debt

      Securities" and Part IV of this form entitled "Schedule of Transactions in V aleant

      Stock Options" to supply all required details of your transaction(s) in Valeant

      Securities. If you need more space or additional schedules, attach separate sheets

      giving all of the required information in substantially the same fonn. Sign and print or

      type your name on each additional sheet.




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            On the schedules, provide all of the requested information with respect to all of

      your purchases and acquisitions and all of your sales of Valeant common stock, debt

      securities and stock options on Valeant common stock between January 4, 2013 and

      September 2, 2016, inclusive, whether such transactions resulted in a profit or a loss.

      You must also provide all of the requested information with respect to all of the

      Valeant common stock and debt securities you held at the close of trading on January

      3, 2013 , March 15, 2016, and September 2, 2016.           Failure to report all such

      transactions may result in the rejection of your claim.

            If your claim includes transactions in Valeant debt securities, you must include

      the 3-letter type of the Valeant Note which you purchased in the space provided in the

      column labeled "Valeant Note Identifier." This three letter code is included in the

      CUSIP for each note; for example, CUSIP 91831 AAA is referred to as the V aleant

      AAA Note. As stated in the Plan of Allocation, the V aleant debt securities are as

      follows , with the correct 3-letter identifier from the CUSIP listed in parentheses for

      each: Valeant AAA Notes (AAA); Valeant AAB Notes (AAB); Valeant AAC Notes

      (AAC); Valeant BAA Notes (BAA); Valeant EAC Notes (EAC); Valeant KAA Notes

      (KAA); Valeant KAD Notes (KAD); Valeant KAE Notes (KAE); Valeant XAM

      Notes (XAM); Valeant XAQ Notes (XAQ); and Valeant XAS Notes (XAS).




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            List these transactions separately and in chronological order, by trade date,

      beginning with the earliest. You must accurately provide the month, day and year of

      each transaction you list.

            For short-sale transactions, the date of covering a "short sale" is deemed to be

      the date of purchase of V aleant common stock, and the date of a "short sale" is

      deemed to be the date of sale of Valeant common stock.

            For each transaction, you must provide, together with this claim form, copies of

      stockbroker confirmation slips, stockbroker statements, or other documents adequately

      evidencing your transactions in Valeant Securities. If any such documents are not in

      your possession, please obtain a copy or equivalent documents from your broker

      because these documents are necessary to prove and process your claim. Failure to

      provide this documentation could delay verification of your claim or result in rejection

      of your claim.




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                          UNITED STATES DISTRICT COURT

                              DISTRICT OF NEW JERSEY

           In re Valeant Pharmaceuticals International, Inc. Securities Litigation

                              No. 3:15-cv-07658-MAS-LHG

                           PROOF OF CLAIM: AND RELEASE

             Must Be Postmarked (if mailed) or Received (if submitted online)
                                    No Later Than:

                                        May 6, 2020

                                    Please Type or Print

           REMEMBER TO ATTACH COPIES OF BROKER CONFIRMATIONS

      OR OTHER DOCUMENTATION OF YOUR TRANSACTIONS INVALEANT

      SECURITIES. FAILURE TO PROVIDE TIDS DOCUMENTATION COULD

      DELAY VERIFICATION OF YOUR CLAIM OR RESULT IN REJECTION

      OF YOUR CLAIM.




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      PART I:            CLAIMANT IDENTIFICATION
        , - - - - PART I: CLAIMANT IDENTIFICATION - - - - - - - - - - - - - - - - - - - - - - - - - .
          LeS1 1\1$me                                           M ,1. First N11me


          Last Name (Co-Beneficiel Owner)                                        M.1.      Fir.it Name {Co-Beneficial Owner)


            IRA            Joint Tenanc;y                  Employee                    Individual                Other--~~
          Company Name (Beneficial Owner - If Claimant ill not an Individual) or Cu&!odien Name if an IRA            (specify)


          Trustee/Assel Manager/Nominee/Record Owner's Name (If Different from Beneficial Owner Ll&ted Above)


          Accounl#/Fund# (Not Necessary for Individual Filers)


         Social Security Number                                     Taxpayer Identification Number
                                                            or
         Telephone Number (Primary Daytime)                      Telephone Number (Alternate)


         Email Address


                   MAILING INFORMATION - - - - - - - - - - - - - - - - - - - - - - - - - - - - .
         Address


         Address


         City                                                                      State         Zip Code


         Foreign Province                                  Foreign Postal Code                      Fore!qn Country Name/Abbreviation




      PART II:              SCHEDULE OF TRANSACTIONS INVALEANT COMMON STOCK

                A.       Number of shares ofValeant common stock held at the close of trading
                         on January 3, 2013:
                                                                                                                     Proor Enclosed?
                                                                                                                               y
                                                                                                                               N



                B.          Purchases or acquisitions ofValeant common stock between January 4,
                            2013 and September 2, 2016, inclusive:




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       . - - - - PURCHASES - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ,
                                                                      Total Purchase or
                                                                 Acquisition Price (Excluding
                                                                    Commissions, Texes         Proof of
                  Trade Date(s) of Shares   Number of Shares     and Fees) Please round off   Purchase
                   (List Chronologlcaay)  Purcl\aaed or Acquired to the nearest whole do3ar   Enclosed?
               M M        D D           Y Y Y Y
                                                                                                                                            y
         1.          I              I                                                   s                                        • 00       N
                                                                                                                                            y
        2.           I              I                                                   s                                        • 00       N
                                                                                                                                            y
        3.           I              I                                                   s                                        • 00       N
                                                                                                                                            y
         4.          I              I                                                   s                                        • 00       N
                                                                                                                                            y
         5.          I              I                                                   s                                        • 00       N
       IMPORTANT:        (i) If any purchase listed covered B "short sale," please mark Yes: Yea
                         (ii) If you received shares through en acquisition or merger. please Identify the date, the share amount end
                         the company acquired:


         Mo.
                I    03y
                                I           Yenr



               C.         Sales of V aleant common stock between January 4, 2013 and September
                          2, 2016, inclusive:

                         SALES
                                                                                                  Total Sales Price
                                                                                             {Exduding Commissions,
                                                                                                  Taxes and Fees)               Proof of
                          Trade Date(s) of Shares              Number of Shares                  Please round off to             Sales
                           (List ChronologicaMy)                    Sold                      the nearest whole dollar         Enclosed?
                     M M         D D         y     y   y   y
                                                                                                                                        y
                1.          I           I                                              $                     l                 00       N
                                                                                                                                        y
                2.          I           I                                              $                                       00       N
                                                                                                                                        y
                3.          I           I                                              $                                       00       N
                                                                                                                                        y
                4.          I           I                                              $                                       00       N




               D.          Number of shares ofValeant common stock held at the close of trading
                           on March 15, 2016:
                                                                                                                         Proof Enclosed?
                                                                                                                                    y
                                                                                                  1                                 N



               E.          Number of shares of Valeant common stock held at the close of trading
                           on September 2, 2016:
                                                                                                             Proof Enclosed?
                                                                                                                     y
                                                                                                                     N




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            If you require additional space, attach extra schedules in the same format as

      above. Sign and print your name on each additional page.

            YOUMUSTREADANDSIGNTHERELEASEONPAGE20. FAILURE

      TO SIGN THE RELEASE MAY RESULT IN A DELAY IN PROCESSING OR

      THE REJECTION OF YOUR CLAIM.




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      PART ID:     SCHEDULE OF TRANSACTIONS INVALEANT DEBT SECURITIES
            A.     Holdings as of January 3, 2013 ofValeant Debt Securities.

                       Note Identifier                   Number of Units Held




            B.     Purchases or Acquisitions ofValeant Debt Securities between January 4,

      2013 and September 2, 2016, inclusive:

                                                    Number of Units
          Trade Date                                                   Total Purchase or
                              Note Identifier        Purchased or
        Month Day Year                                                 Acquisition Price
                                                      Acquired




            C.     Sales of Valeant Debt Securities between January 4, 2013 and September

      2, 2016, inclusive:




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          Trade Date                               Number of Units
                             Note Identifier                          Total Sales Price
        Month Day Year                                 Sold




            C.    Face value of Valeant Debt Securities held at the close of trading on
      March 15, 2016: _ _ _ _ _ _ _ __

            D.    Face value of Valeant Debt Securities held at the close of trading on
      September 2, 2016: _ _ _ _ _ _ _ __

            If you require additional space, attach extra schedules in the same format as

      above. Sign and print your name on each additional page.

            YOUMUSTREADANDSIGNTHERELEASEONPAGE20. FAILURE

      TO SIGN THE RELEASE MAY RESULT IN A DELAY IN PROCESSING OR

      THE REJECTION OF YOUR CLAIM.




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       PART N:             SCHEDULE OF TRANSACTIONS INVALEANT STOCK
                           OPTIONS

                A.         Purchases or acquisitions of options on Valeant common stock between
                           January 4, 2013 and September 2, 2016, inclusive:

                     PURCHASES - - - - - - - - - - - - - - - - - - - - - - - - .
                                                                                    TOlal Purchase or

                      Tracie Datl(sl d OplioM         Number ol Opliano        ~=~
                                                                               and F-J Ple-rOllld off
                                                                                                                       Procld
                                                                                                                      Pu!CIIHe
                       (Usl Chrond .              f'lm:llased or Acquied       IO lhe nearest '#11011, ddlar          Endosed'I
                M M        O O         Y Y Y Y
                                                                                                                             y
           1.          /           /                                       s                                     . 00        N
                                                                                                                             y
           2.         I            I                                       s                                     , 00        N
                                                                                                                             y
           3.          I           I                                       s                                     , 00        N
                                                                                                                             y
           4.          I           I                                       s                                     , 00        N
                                                                                                                             y
           5.          I           I                                       s                                     , 00        N



                B.         Sales of stock options on Valeant common stock between January 4,
                           2013 and September 2, 2016, inclusive:
                      SALES - - - - - - - - - - - - - - - - - - - - - - - - ,
                                                                       Total Sales Pric:e
                                                                  (Excludlng Commi:.slon:s.
                                                                       Tex~ and Fees)        PIOOf ol
                       Trade Oate(s) ot Option, Number ol Options     Please round off to     Sales
                        (List Chronologicaly)        Sold          the nearest whole dollar Enclosed?
                     MM         DD         YYYY
                                                                                                                         y
                1,          /          /                                   $                                   • 00      N
                                                                                                                         y
                2-          I          I                                   $                                   , 00      N
                                                                                                                         y
                3.          I          I                                   $                                   , 00      N
                                                                                                                         y
                4.          I          I                                   $                                   , 00      N




                If you require additional space, attach extra schedules in the same format as

       above. Sign and print your name on each additional page.

                YOU MUST READ AND SIGN THE RELEASE ON PAGE 20. FAILURE

       TO SIGN THE RELEASE MAY RESULT IN A DELAY IN PROCESSING OR

       THE REJECTION OF YOUR CLAIM.



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      IV.   SUBMISSION TO JURISDICTION OF COURT AND
            ACKNOWLEDGMENTS

            I (We) submit this Proof of Claim and Release under the tenns of the

      Stipulation described in the Notice. I (We) also submit to the jurisdiction of the

      United States District Court for the District of New Jersey with respect to my (our)

      claim as a Class Member and for pwposes of enforcing the releases set forth herein. I

      (We) further acknowledge that I am (we are) bound by and subject to the terms of the

      Stipulation and any judgment that may be entered in the Litigation, including the

      releases and the covenants set forth herein. I (We) agree to furnish additional

      information to the Claims Administrator to support this claim if requested to do so. I

      (We) have not submitted any other claim in connection with transactions in Valeant

      Securities during the Class Period and know of no other person having done so on my

      (our) behalf.

      V.    RELEASES

             1.       I (We) hereby acknowledge full and complete satisfaction of, and do

      hereby fully, finally, and forever settle, release, and discharge from the Released

      Claims each and all of the Released Persons.

            2.        "Released Persons" means each and all of the Defendants, Former

      Defendants and their Related Parties. Released Persons does not include PwC.

            3.        "Released Claims" means any and all rights, liabilities, suits, debts,

      obligations, demands, damages, losses, judgment matters, issues, claims (including

      Unknown Claims), and causes of action of every nature and description whatsoever, in


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      law, equity, or otherwise, whether accrued or unaccrued, fixed or contingent,

      liquidated or unliquidated, whether arising under federal, state, local, statutory,

      common law, foreign law, or any other law, rule, or regulation, and whether class

      and/or individual in nature, concerning, based on, arising out of, or in connection with

      both: (i) the purchase or other acquisition of Valeant Securities by Lead Plaintiff or

      any other Class Member between January 4, 2013 and March 15, 2016, inclusive; and

      (ii) the allegations, transactions, acts, facts, matters, occurrences, disclosures,

      statements, filings, representations, omissions, or events that were or could have been

      alleged or asserted in the Litigation. Released Claims do not include claims to enforce

      the Settlement, shareholder derivative claims on behalf of Valeant, governmental

      agency actions against the Released Persons, claims asserted in the RICO Class

      Action, the Canadian Actions, or the claims that are or could be asserted in this

      Litigation against PwC.

             4.     "Released Defendants' Claims" means any and all claims and causes of

      action of every nature and description whatsoever, including both known claims and

      Unknown Claims, that arise out of, are based upon, or relate in any way to the

      institution, prosecution, or settlement of the claims against Defendants or Former

      Defendants in the Litigation, except for claims relating to the enforcement of the

       Settlement or contractual or other indemnification rights.

             5.     "Unknown Claims" means: (a) any and all Released Claims which the

      Releasing Plaintiff Parties do not know or suspect to exist in his, her, or its favor at the

      time of the release of the Released Persons, which, if known by him, her, or it, might

      have affected his, her, or its settlement with and release of the Released Persons, or



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      might have affected his, her, or its decision(s) with respect to the Settlement,

      including, but not limited to, whether or not to object to this Settlement or seek

      exclusion from the Class; and (b) any and all Released Defendants' Claims that the

      Released Persons do not know or suspect to exist in his, her, or its favor at the time of

      the release of the Plaintiffs, the Class and Plaintiffs' Counsel, which, ifknown by him,

      her, or it, might have affected his, her, or its settlement and release of Plaintiffs, the

      Class and Plaintiffs' Counsel. With respect to ( a) any and all Released Claims against

      the Released Persons, and (b) any and all Released Defendants' Claims against

      Plaintiffs, the Class and Plaintiffs' Counsel, the Settling Parties stipulate and agree

      that, upon the Effective Date, the Settling Parties shall expressly waive and each

      Releasing Plaintiff Party and Released Person shall be deemed to have, and by

      operation of the Judgment shall have expressly waived, the provisions, rights, and

      benefits of California Civil Code § 1542, which provides:

             A general release does not extend to claims that the creditor or releasing
             party does not know or suspect to exist in his or her favor at the time of
             executing the release and that, if known by him or her, would have
             materially affected his or her settlement with the debtor or released party.

      The Settling Parties shall expressly waive and each Releasing Plaintiff Party and

      Released Person shall be deemed to have, and by operation of the Judgment shall

      have, expressly waived any and all provisions, rights, and benefits conferred by any

      law of any state or territory of the United States, or principle of common law, which is

      similar, comparable, or equivalent to California Civil Code §1542. The Releasing

      Plaintiff Parties and Released Persons acknowledge that they may hereafter discover




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      facts in addition to or different from those which he, she, it or their counsel now

      knows or believes to be true with respect to the subject matter of the Released Claims

      or Released Defendants' Claims, but: (a) the Releasing Plaintiff Parties shall expressly

      fully, finally, and forever waive, compromise, settle, discharge, extinguish, and

      release, and each Releasing Plaintiff Party shall be deemed to have waived,

      compromised, settled, discharged, extinguished, and released, and upon the Effective

      Date, and by operation of the Judgment shall have waived, compromised, settled,

      discharged, extinguished, and released, fully, finally, and forever, any and all

      Released Claims against the Released Persons, known or unknown, suspected or

      unsuspected, contingent or non-contingent, whether or not concealed or hidden, which

      now exist, or heretofore have existed, upon any theory of law or equity now existing

      or coming into existence in the future, including, but not limited to, conduct which is

      negligent, intentional, with or without malice, or a breach of any duty, law or rule,

      without regard to the subsequent discovery or existence of such different or additional

      facts, legal theories, or authorities; and (b) the Released Persons shall expressly fully,

      finally, and forever waive, compromise, settle, discharge, extinguish, and release, and

      upon the Effective Date, and by operation of the Judgment shall have waived,

      compromised, settled, discharged, extinguished, and released, fully, finally, and

      forever, any and all Released Defendants' Claims against the Plaintiffs, the Class and

      Plaintiffs' Counsel, known or unknown, suspected or unsuspected, contingent or non-



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      contingent, whether or not concealed or hidden, which now exist, or heretofore have

      existed, upon any theory oflaw or equity now existing or coming into existence in the

      future, including, but not limited to, conduct which is negligent, intentional, with or

      without malice, or a breach of any duty, law or rule, without regard to the subsequent

      discovery or existence of such different or additional facts, legal theories, or

      authorities. This paragraph does not affect any claims for contractual or other

      indemnification rights between or among the Defendants and Former Defendants.

      The Settling Parties acknowledge, and the Releasing Plaintiff Parties and Released

      Persons shall be deemed by operation of the Judgment to have acknowledged, that the

      foregoing waiver was separately bargained for and is an essential element of the

      Settlement of which this release is a part.

            6.     These releases shall be of no force or effect unless and until the Court

      approves the Stipulation and the Settlement becomes effective on the Effective Date.

            7.     I (We) hereby warrant and represent that I (we) have not assigned or

      transferred or purported to assign or transfer, voluntarily or involuntarily, any claim or

      matter released pursuant to this release or any other part or portion thereof.

            8.     I (We) hereby warrant and represent that I (we) have included

      information about all of my (our) purchases, acquisitions and sales of Valeant

      Securities during the Class Period and the number of shares ofValeant common stock

      and face value of debt securities held by me (us) at the close of trading on January 3,

      2013, March 15, 2016, and September 2, 2016.



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               I (We) declare under penalty of perjury under the laws of the United States of

      America that the foregoing information supplied by the widersigned is true and correct

      and that the claimant has not previously received or been promised a payment from or

      on behalf of the Valeant Defendants, other than a payment of attorneys fees or costs to

      counsel, related to or arising from litigation related to Class Period transactions in

      Valeant Securities.

       Executed this _ _ _ _ _ day of _ _ _ _ _ _ _ _ in - - - - - = - - - - - - - - - -
                                                          (Month/Year)                              (Cily/StatelCountry)


       (Sign your name here}                                             (Sign your name here)



       (Type or print your name here)                                    (Type or print your name here)



       (C11paclty of person(s) signing, e.g.,                            (C11pacity of person(s) signing, e.g.,
       Beneficial Purchaser, Executor or Administrator)                  Beneficial Purchaser, Executor or Administrator)


                             ACCURATE CLAIMS PROCESSING TAKES A SIGNIFICANT AMOUNT OF TIME.
                                             THANK YOU FOR YOU R PATIENCE.
       Reminder Checklist
       1. Please sign the above release and declaration.                  6. If you desire an acknowledgmentof recei;>tofyour claim form
       2. If this Claim is being made on behalf of Joint Claimants.          please send it Certified Mail, Return Receipt Requested .
          then beth must sign.                                            7. If you move, please send your new address to the address
                                                                             lleiov;.
       3. Remember to attach copies of supporting documentation .
          If available.                                                   8. Do not use red pen or highlighter on the Proof of Claim
       4. Do not 9end originals of certificates.                             and Re lease fom1 or supporting documentation.

       5. Keep a copy of your claim form and all supporting
          documentation for your records.



      TIDS PROOF OF CLAIM AND RELEASE FORM MUST BE SUBMITTED
      ONLINE   OR MAILED     NO   LATER   THAN   MAY 6, 2020,
      ADDRESSED AS FOLLOWS:
                                                   Valeant Securities Settlement
                                                Claims Administrator
                                               c/o Gilardi & Co. LLC
                                                   P.O. Box 43337
                                             Providence, RI 02940-3337
                                          www.ValeantSecuritiesSettlement.com



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                                  EXlllBIT A-3
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      SEEGER WEISS LLP
      CHRISTOPHER A. SEEGER
      DAVID R. BUCHANAN
      5 5 Challenger Road, 6th Floor
      Ridgefield Park, NJ 07660
      Telephone: 212/584-0700
      212/584-0799 (fax)

      Local Counsel

      ROBBINS GELLER RUDMAN
       &DOWDLLP
      JAMES E. BARZ
      FRANK A. RICHTER
      200 South Wacker Drive, 3 pt Floor
      Chicago, IL 60606
      Telephone: 312/674-4674
      312/674-4676 (fax)

      Lead Counsel for Plaintiffs


                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

      In re V ALEANT                 )     Master No. 3: l 5-cv-07658-MAS-LHG
      PHARMACEUTICALS                )
      INTERNATIONAL, INC.            )     CLASS ACTION
      SECURITIES LITIGATION          )
      ________                       )
                                           Judge Michael A. Shipp
                                     )     Magistrate Judge Lois H. Goodman
                                     )     Special Master Hon. Dennis M . Cavanaugh,
      This Document Relates To:      )     U.S.D.J. (Ret.)
                                     )     SUMMARY NOTICE OF PENDENCY
      Case No. 3:15-cv-07658-MAS-LHG.)
                                           AND PROPOSED SETTLEMENT OF
                                     )     CLASS ACTION
      -----------
                                           EXI-IlBIT A-3
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      TO:    ALL PERSONS AND ENTITIES THAT PURCHASED OR
            OTHERWISE ACQUffiED V ALEANT PHARMACEUTICALS
            INTERNATIONAL, INC. ("VALEANT," NOW KNOWN AS BAUSCH
            HEALTH COMPANIES INC.) COMMON STOCK, VALEANT DEBT
            SECURITIES, OR CALL OPTIONS ON VALEANT COMMON STOCK,
            OR SOLD PUT OPTIONS ON V ALEANT COMMON STOCK, DURING
            THE PERIOD BETWEEN JANUARY 4, 2013 AND MARCH 15, 2016,
            INCLUSIVE (THE "CLASS PERIOD")

      TIDS NOTICE WAS AUTHORIZED BY THE COURT. IT IS NOT A
      LAWYER SOLICITATION. PLEASE READ THIS NOTICE CAREFULLY
      AND IN ITS ENTIRETY.

            YOU ARE HEREBY NOTIFIED that a hearing will be held on May 27, 2020,

      at 10:00 a.m., before the Honorable Dennis M. Cavanaugh, U.S.D.J. (Ret.), Special

      Master, at the Clarkson S. Fisher Building & U.S. Courthouse, 402 East State Street,

      Courtroom 1, Trenton, New Jersey 08608, to determine whether: (1) the proposed

      settlement (the "Settlement") of the above- captioned action as set forth in the

      Stipulation of Settlement ("Stipulation") for $1,210,000,000.00 in cash should be

      approved by the Court as fair, reasonable and adequate; (2) the Judgment as provided

      under the Stipulation should be entered dismissing the Litigation against all

      Defendants with prejudice except PriceWaterhouseCoopers LLP ("PwC"); (3) the

      Class should be finally certified for purposes of the Settlement only; (4) to award

      Lead Counsel attorneys' fees and charges and expenses out of the Settlement Fund

      (as defined in the Notice of Pendency and Proposed Settlement of Class Action

      (''Notice"), which is discussed below) and, if so, in what amount; (5) to award

      Plaintiffs out of the Settlement Fund pursuant to 15 U.S. C. §7 8u-4( a)( 4) in connection

      with their representation of the Class and, if so, in what amount; and (6) the Plan of
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                Allocation should be approved by the Court as fair, reasonable and adequate.

                      IF YOU PURCHASED OR OTHERWISE ACQUIRED VALEANT

                SECURITIES 2 BETWEEN JANUARY 4, 2013 AND MARCH 15, 2016,

                INCLUSIVE, YOUR RIGHTS MAY BE AFFECTED BY THE SETTLEMENT OF

                THIS LITIGATION.

                      To share in the distribution of the Settlement Fund, you must establish your

                rights by submitting a Proof of Claim and Release form by mail (postmarked no

                later than May 6, 2020) or electronically (no later than May 6, 2020). Your failure

                to submit your Proof of Claim and Release by May 6, 2020, will subject your claim

                to rejection and preclude your receiving any of the recovery in connection with the

                Settlement of this Litigation. To exclude yourself from the Class,


                2     "Valeant Securities" means Valeant equity securities as defined in 15 U.S.C.
                §78c(l l) and 17 C.F.R. §240.3al 1-1, and Valeant debt securities, including Valeant
                common stock; options on Valeant common stock, defined to be the purchase or
                acquisition of call options and the sale of put options; and the following Valeant
                senior notes: (1) 5.375% senior notes due 2020; (2) 5.875% senior notes due 2023;
                (3) 6.125% senior notes due 2025; (4) 5 .5% senior notes due 2023; ( 5) 5 .625% senior
                notes due 2021; (6) 6.75% senior notes due 2018; (7) 7.5% senior notes due 2021; (8)
                6.375% senior notes due 2020; (9) 7.25% senior notes due 2022; (10) 6.75% senior
                notes due 2021; or (I l) 7.0% senior notes due 2020. This definition does not include
                securities at issue in the Canadian Actions.




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                you must submit a written request for exclusion so that it is postmarked no later than

                May 6, 2020, in accordance with the instructions set forth in the Notice. If you

                request exclusion, you will not recover money pursuant to the Settlement.

                      If you have not received a copy of the Notice, which more completely describes

                the Settlement and your rights thereunder (including your right to exclude yourself

                from the Class or to object to the Settlement), and a Proof of Claim and Release, you

                may obtain these documents, as well as a copy of the Stipulation and other settlement

                documents, online at www.ValeantSecuritiesSettlement.com, or by writing to:

                                            Valeant Securities Settlement
                                               c/o Gilardi & Co. LLC
                                                   P.O. Box 43337
                                               Providence, RI 02940

                      Inquiries should NOT be directed to Defendants, the Court, or the Clerk of the

                Court.

                      Inquiries, other than requests for the Notice or for a Proof of Claim and Release,

                may be made to a representative of Lead Counsel:

                                  ROBBINS GELLER RUDMAN & DOWD LLP
                                                 Rick Nelson
                                           c/o Shareholder Relations
                                       65 5 West Broadway, Suite 1900
                                             San Diego, CA 9210 I
                                          Telephone: 800/449-4900

                         IF YOU ARE A CLASS MEMBER, YOU HAVE THE RIGHT TO OBJECT

                TO THE SETTLEMENT, THE PLAN OF ALLOCATION, THE REQUEST BY

                LEAD COUNSEL FOR AN AWARD OF ATIORNEYS ' FEES AND EXPENSES

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         AND/OR THE AWARDS TOPLAINTIFFSPURSUANTTO 15 U.S.C. §78u-4(a)(4)

         IN CONNECTION WITH THEIR REPRESENTATION OF THE CLASS . ANY

         OBJECTIONS MUST BE FILED WITH THE COURT AND MAILED TO LEAD

         COUNSEL AND VALEANT' S COUNSEL BY MAY 6, 2020,             IN   THE

         MANNER AND FORM EXPLAINED IN THE NOTICE.

         DATED:   / /;J.3 /~.;)Q       BY ORDER OF THE
                                       UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY




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